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                         EXHIBIT A
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                                                                                         FILED
                                                                                 SUPERIOR COURT OF CALIFORNIA
                                                                                  COUNTY OF SAN BERNARDINO
                                                                                 SAN BERNARDINO CIVIL DIVISION


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            HAZMAT TSDF, fNC. , formerly known as FILTER RECYCLfNG
        7   SERVICES, INC.

        8                          SUPERIOR COURT OF THE STATE OF CALIFORN IA

,,,     9                                      COUNTY OF SAN BERNARDfNO
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·;:;   11   HAZMAT TSDF, fNC., formerly known as             Case No.           CIV SB 2 1 0 6 8 5 J
 ~          FILTER RECYCLING SERVICES, fNC.,
I.I.
       12                                                    VERIFIED PETITION FOR WRIT OF
                           Petitioner and Plaintiff,         MANDATE (TRADITIONAL AND
       13                                                    ADMINISTRATIVE) AND COMPLAJNT FOR
                   V.                                        DECLARATORY RELIEF-IMMEDIATE
       14                                                    STA Y REQUESTED
            CAUFORNIA DEPARTMENT OF TOXIC
       15   SUBSTANCES CONTROL; BILL
            BECKMAN, in his capacity as Dispute
       16   Resolution Official of the California
 ♦

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            Department of Toxic Substances Control;
.,c; 17     MARIA SORIA, in her capacity as Division
u>
~           Chief Enforcement and Emergency response
u      18   Division of the Californ ia Department of
 ♦
 0
 00         Toxic Substances Control; BRUCE LaBELL,
:c"         in his capacity as Dispute-Resolution Official
 V
       19
u           of the California Department of Toxic
       20   Substances Control; and DOES I through I0,
            inclusive,
       21
                           Respondents and Defendants.
       22

       23          Petitioner and plaintiff Hazmat TSDF, Inc., formerly known as Filler Recycling Services, Inc.

       24   ("Hazmat"), brings this action to challenge the "Violation Scoring Procedure" regulations adopted by

       25   respondent and defendant California Department of Toxic Substances Control ("DTSC") for the

       26   assessment and scoring of hazardous waste facilities in connection with permitting decisions, and their

       27   specific application to Hazmat by DTSC and its employees, including by defendants and respondents

       28   Bill Beckman, Maria Soria and Bruce LaBelle.

                                            VERIFIED PETITION FOR WRJT OF MANDATE
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                            I.        INTRODUCTION AND BACKGROUND

                2           I.        Hazmat TSDF, Inc. ('"Hazmaf') is a Californ ia corporation located at 180 W. Monte

                3   Avenue, Rialto CA 923 16. Hazmat is a successful processor, recycler and permitted hazardous waste

                4   treatment. transfer and storage fac ility (TS DF). Hazmat is the very fi rst perm itted Appl iance Recycler

                5   in Cali forn ia. a Materials Recovery facility (MRF) and a member of a National Response        etwork

                6   responding to natural disasters and emergencies spil l cleanups.

                7           2.        Hazmat provides recyc ling services for many of the Inland Empire's major employers,

                8   recovers raw materials from discarded consumer commod ities and offers environmentally friendly

                9   options for used oil, oil fi lters, aerosol cans and other discarded items. Hazmat also has been on the
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      en 10         front lines providing such services as COYID- 19 decontamination services. clandestine drug lab
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               11   disposa l and Hazwoper exercises for loca l Ri verside and San Bernardino Fi re and first responders.
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       a 12 Hazmat has been providing the local community. en vironmental-friendly, high-quali ty. safe disposal
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       • 13         services since 1990. Currently. Hazmat employs more than I 00 people. providing support to them and

               14   their families.

               15           3.        Without its operating permit, over 100 Hazmat employees will lose their jobs. Its owner,

               16   Jon Bennet, has invested 32 years and mi llions of dollars establishing Hazmat and developing its current
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       '"',.
      e:;      17   business, all of wh ich will be lost as well. The loss of the perm it wil l cause an uncontrolled closure of
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      u 18 the Hazmat fac ility, and Hazmat wil l lose its Closure Cost Fund. approximately $500,000. It wi ll also
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       ell
       ",! 19       impact dozens of contractual obligations. The community will lose a needed recycler of used oil and oil
      e
               20   fi lters, as well as the only aerosol can recyc ler in San Bernardino County. and the loss of the only

               21   permitted hazardous waste shredder in the State.

               22           4.        Hazmat has a 30 year long history and stellar reputation with al l local, City and County

               23   Health and Environmental depa1tments. In the past 6½ years Hazmat has not been cited for a single

               24   violation of any hazardous waste management requirement. 1

               25           5.        In the more distant past, Hazmat and a state agency called DTSC spent decades arguing

               26
                    1Petitioner was cited for a minor paperwork vio lation in 20 18 and another one in 20 19, both of which
               27   dealt with financial assurance issues (one year the language on Hazmaf s liabi lity insurance certificate
                    did not mirror that of the regulatory language, the other year Hazmat was a month late in providing the
               28   annual inflation addition to the required closure cost financial assurance).
                                                                          2
                                                     VERIFIED PETITIO     FOR WRJT OF M ANDATE
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                and litigating over the scope of activities authorized under Hazmaf s original permit and DTSC's

            2   purported "citations" concerning its hand ling of water and gaso li ne mixtures. Hazmat for all intended

            3   purposes won every argument and won the litigation wars. Although DTSC refused to admit its errors

            4   even after the San Bernard ino County Superior Court had ru led that DTSC had "abused their

            5   discretion,·• the dispute was settled without any admission of liability by Hazmat to avoid further

            6   litigation and abuse and the costs associated with continued litigation.

            7          6.      DTSC now seeks to resurrect the old. resolved citations so that it can illegal ly impose

            8   pun ishment on Hazmat by way of DTSC's new ·' VS P Regulations;· through which it is pursuing permit

            9   revocation and has labeled its operations as "U nacceptable.. based on an illogical and improper
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           10   calculation of Hazmat's 2019 --F inal Inspection Violation Score,'· wh ich rests solely on unproven, time-
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           11   barred. indefensible allegations by DTSC that were the subject of the settlement. It has also labeled
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    c,..
     C     12   Hazmat as a significant non-compliant operator based on this new regulatory program.
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    • 13               7.      Hazmat has withstood a constant barrage of abuses by DTSC, literally countless

           14   inspections, multiple investigations and even a baseless no-knock warrant within these past 6 ½ years,

           15   without even a paperwork violation being alleged against Hazmat, yet DTSC still invents illogical and

           16   unsupportable conclusions in a 20 19 VSP score that threatens the conti nued operation of a stable of San

                Bernardino businesses.

                       8.      Illogically and inconsistently, in calculating Hazmaf s 2020 --Final Inspection Violation

                Score." DTSC classifies Hazmaf s operations as ··Conditionally Acceptable," yet it ignores this finding

           20   as it moves forward punishing Hazmat and seeking perm it revocation based on the improper. outdated

           2 1 " Unacceptable.. classification from 20 19. The actions are personal, vindictive and illegal.

           22          9.      By this action, Hazmat seeks a writ of mandate requiring DTSC to classify its operations

           23   as "Acceptable.. under the VSP Regulations along with a declaration that the VSP Regu lations are

           24   il legal and unconstitutional on their face and as applied to Hazmat by DTSC. Hazmat also seeks an

           25   injunction prohibiting DTSC from taking any fu11her action under the VSP Regulations against Hazmat

           26   based on unproven allegations that DTSC abandoned when it agreed to settle those al legations with no

           27   adm ission of liability by Hazmat, and rel ieving Hazmat of any obligation to further participate in

           28   adm inistrati ve proceedings involving those settled claims and any VSP scores or compliance tier
                                                                     3
                                               VERIFIED PETIT ION FOR WRJT OF MA DAT E
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             ass ignments based on those unproven claims.

         2           I0.        The litigation wars and the improper 20 19 ··unacceptable.. and 2020 ··Conditionally

         3   Acceptable.. classifications involve Hazmat' s handli ng of the mixed petroleum/water waste. Hazmat

         4   was authorized to accept this waste before it received its ten-year perm it effective January 21. 2002.

         5   Hazmat was authorized to accept the same wastes under that permit. After the perm it was issued. DTSC

         6   conducted numerous inspections of Hazmat and made no allegations of mishand ling this waste. Thi ngs

         7   changed in. roughly 2007. when a new inspector got involved with the site. Rick Jones. Jones fal sely

         8   claimed he got a --complaint" about Hazmat mishandling waste so he could conduct surveillance of the
         9   site. In truth. the ··complainf· was from Jones himself, and it was based on his mistaken interpretation
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vi           of language in the permit and be lief that Hazmat could not accept water/petroleum mixtures. He began
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        11   issuing notices of alleged violations and agitating for enforcement actions against Hazmat. But this was
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t.,..
 C      12   never about any alleged release or threatened release by Hazmat. only a dispute over whether the permit
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             language allowed handling the mixed petroleum/water waste. In an attempt to diffuse the issue, in

        14   February 2008, Hazmat sought a mod ification of the permit language so it would reflect what Jones
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             wanted. DTSC delayed the permit modification whi le it .. investigated·' this non-issue. Meanwhile.
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c       16   Jones received authoritative in formation confirm ing that there were no vio lations of the permit with its
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 §      17
-;.;         existing language and that Hazmat was free to operate as it had fo r years without issue:
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•0 18                       •   In a July 2009 email. the Regional Criminal Enforcement Counsel of the United States
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e       19                      Environmental Protection Agency in fo rmed Jones that Hazmat' s handling of

        20                      petroleum/ water waste did not violate Federal law (and hence the permit).

        21                  •   In an August 19. 2009 ema il, Hazmat"s permit writer told Jones that Hazmat was

        22                      authorized to accept water contaminated with gasoli ne under its permit.

        23   Yet Jones persisted, and the permit modification was delayed until the ten-year term of the permit was

        24   on the horizon and the modi fi cation issue collapsed into consideration of the renewal permit. On June

        25   11.20 11. the permit writer complained to management in an email that Hazmat' s permit was held up by

        26   Jones and the DTSC Enforcement Unit, asking --W ILL THI S PROJ ECT BE COM PLETED EVERT

        27   and stating --Help needed from the fi fth dimension:· That help was not fo rthcoming.

        28           11 .       On December 4, 2012, Hazmat fil ed a writ petition in this Court (Case     o.
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                                               VERIFIED PET ITIO   FOR WRIT OF M A DAT E
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                   CIVDS 121258) to force DTSC to issue its permit modification. The next day. DTSC fi led a civil

               2   enforcement action against Hazmat in Los Angeles County Superior Court (Case No. BC496757, the

               3   ·' LA Action.. ). On April 21 , 20 I4, DTSC finally issued Hazmat its modified permit. 2 The last time

               4   DTSC alleged that Hazmat violated any hazardous waste management requ irement came less than three

               5   months after the modi fi ed permit was issued with language that made Jones·s objections to the hand ling

               6   of mixed petroleum/water waste moot. 3 Thereafter. DTSC and Hazmat settled the LA Action. with

               7   Hazrnat agreeing to pay DTSC $500,000 without admitting any liability in reference to its hand ling the

               8   mixed petroleum/water waste or any other alleged violation of the permit or governing law. DTSC had

       -~
               9   already begun drafting the YSP Regulations whi le the settlement negotiations were ongoing but it did
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       .;;;   10   not tell Hazmat about them or about its intent to count the alleged violations being settled in the LA
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              11   Action as proven ·'violations.. under the VSP Regulations. meaning DTSC defrauded Hazmat into
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              12   entering into the settlemen t agreement on the terms that it did. Hazmat believed that these old disputes
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...l   !u 13       were reso lved by settlement. only to find out that DTSC knew at that time it would seek to punish
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              14   Hazmat for the unproven allegations using the YSP Regulations then being drafted.

              15           12.    In late 20 18, DTSC rolled out the final YSP Regulations, effective January I, 2019.

              16   DTSC claims that they were designed to implement reforms dictated by the Legislature to insure that
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       ,.;    17   DTSC considered recent performance history of hazardous waste facility operators when making
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       u" 18 permitting decisions for existing facilities. DTSC s YSP Regulations. however, ignored the Legislative
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              19   directive to adopt regulations that " improve the protecti veness, timeliness, lega l defensibility. and
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              20   enforceability of [DTSC' s] permitti ng program:' and instead DTSC adopted a convoluted and complex

              21   system that violate the law in numerous ways and retroactively penalized owner/operators for unproven

              22   allegations of operational issues that DTSC either did not pursue by enforcement action or wh ich it

              23   abandoned during the course of enforcement actions (by dismissa l or through settlement with no

              24   adm ission of IiabiIity). T he Legislature intended that DTSC would look inward to correct itself.

              25   Instead, DTSC looks to deputize others to do DTSCs work.

              26
                   2 The modified perm it mooted aspects of the writ petition. although the case proceeded through trial and
              27   judgment based on certain perm it cond itions to which Hazmat objected. This Court upheld Hazmat' s
                   objection to some of the conditions and overruled others in a decision issued June 22, 20 16.
              28   3 This July 20 14 allegation related to labeling and handing of e-waste and was resolved with no penalty.

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                                                   VERIFIED PETITION FOR WRIT OF MANDATE
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                          13.    The YSP Regulations created an annual, rolling ten-year look-back period for

              2   consideration of a facility's performance, and assign fac ilities to one of three comp liance tiers:

              3 ·'Acceptable··, "Conditionally Acceptable .., and ·'Unacceptab le.'· Unless a permittee is deemed
              4   "Acceptable;· it is punished. If deemed ''Conditional ly Acceptable,'· the permittee is stripped of control

              5   of its own business operations: if deemed "Unacceptable;· the permittee is both stripped of control of its

              6   business operations and forced to defend itself in an administrati ve hearing at which DTSC will seek to

              7   suspend or revoke its permit. These regulations violate the law.

              8           14.    Worse. DTSC has not fo llowed its own illegal YSP Regulations, and it is applying them

              9   retroactively in a manner that is arbitrary, illogical, pun itive, and denies Hazmat and other operators due
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    v;       10   process of law and violates constitutional protections against ex post facto laws. As part of this process,
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             11   DTSC ignored its govern ing regulations and internal policies. It has issued inflated --ysp Scores,''
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     C       12   causing harm to Hazmat and others by i!T)properly placing them in the ··Conditionally Acceptable'' or
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     • 13         ·'U nacceptable.. compliance tiers. This occurred with Hazmat. as DTSC improperly scored the

             14   unproven violations reso lved in the LA Action, miscounted the number of inspections performed on

             15   l-lazmat, and misclass ified the al leged "citations;· all of which occurred beyond the statute of

           16     limitations. DTSC's " Dispute Resolution Officers.. have also ignored the regulatory review
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    .;            requirements and the law when turning away Hazmat's challenge to its VSP Score.
    G"                    15.    Further, DTSC prejudiciall y fa iled to issue timely responses to administrative challenges
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    e             such that the annual reviews have stacked up on one another, with Hazmat being forced to

             20   simultaneously challenge its 2019 designation as an "U nacceptable .. operator and DTSC's 2020 finding

             21   that it was a ··Conditionally Acceptable" operator. Although the 2020 designation makes the 20 19

             22   designation moot, DTSC refuses to acknowledge that real ity, outrageously telling Hazmat that its ·'20 19

             23   score and tier assignment will be fully addressed following the regulations as the 2020 score and tier

             24   assignment has no impact to the 2019 score." In other words, DTSC admits that as of the filin g of this

             25   petition. Hazmat is a "Conditionally Acceptable'· operator. yet DTSC is pursuing permit suspension or

             26   revocation based on the admitted ficti on that it is an "Unacceptable.. operator.

             27           16.     DTSC's actions violate Hazmat' s state and federa l constitutional rights to due process

             28   and to be free from imposition of excessive fines. Its arbitrary scoring of al leged violations which were
                                                                         6
                                                  VERJFI ED PETITIO    FOR WRJT OF MANDATE
                                                       -
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                resolved by settlement years ago violates the VSP Regulations and deny Hazmat the benefit of the

            2   bargai n it struck when it resolved the LA Action. By this action, Hazmat seeks reversal of the fo llowing

            3   arbitrary, unfounded and erroneous decisions of DTSC and its VSP Dispute Resolution Officers:

           4                     a.    The January 29, 2021 dec ision of respondent and defendant Bil l Beckman as

            5          DTSCs VSP Dispute Resolution Officer issued pursuant to California Code of Regu lations, title

            6          22. section 6627 l.53(c)(4) for 20 19 regarding Hazmat's '•Final Inspection Violation Score;"

            7                    b.    The 201 9 ·•Final Inspection Violation Score·· of 62.21 issued February 5, 202 1 to

            8          Hazmat by respondent and defendant Maria Soria as DTSC Division Chief, Enforcement and

            9          Emergency Response Division;
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   ,J;
           10                    c.    The 2019 compliance tier assignment issued February 5, 202 1 by Soria that
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           11          placed Hazmat in the '·Unacceptable.. compliance tier for 2019 based solely on the VSP Score of
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    a      12          63.75 ;
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    • 13                         d.    The 2020 Final Inspection Violation Score of 36.45, issued by Soria on both
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   c:;
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    C:
    <      14          February 5. 202 1 (before a VSP Dispute Reso lution Officer ruled on Hazmaf s 2020 Provisional
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           15           Inspection Violation Score Dispute Documentl and on March 8, 202 1 (in an identical. redundant

           16          and legally irrelevant letter that changed onl y the reference to the date on which Hazmat
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   c:;     17          submitted its 2020 Dispute Document).
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   u" 18                         e.    The 2020 compliance tier assignment issued by Soria that placed Hazmat in the
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   e"'"    19          ··Conditionally Acceptable'· compliance tier for 2020; and

           20                    f.    The March 5, 2021 decis ion of respondent and defendant Bruce LaBel le as

           21           DTSC s VSP Dispute Reso lution Officer issued pursuant to Ca lifornia Code of Regulations, title

           22          22, section 6627 l .53(c)(4) for 2020 regarding Hazmat's Final Inspection Violation Score.

           23   4 In an ironic demonstration of DTSC- s abject incompetence, incons istency and arbitrary enforcement, a
                DTSC Dispute Resolution Official purported to rule on Hazmafs 2020 Dispute Document on March 5,
           24   202 1. In a one page letter. DTSC rejected wholesale and without analysis all of Hazmaf s arguments
                and ev idence submitted in support of its contentions. As a result, DTSC s 2020 Dispute Resol ution
           25   Offi cer reached a dffferent conclusion than that of DTSC's 20 19 Dispute Resolution Officer on final
                scores fo r certain inspections. The 20 19 Dispute Reso lution Officer granted Hazmat relief for one of the
           26   alleged violations from the Apri l 9, 20 12 inspection, issuing it " finar· 20 19 score of 18. 75 for event, yet
                the same alleged violation was scored 22.5 under the untimely ru ling for 2020. This ru ling also creates a
           27   " head's I win. tails you lose'· approach for the regulated commun ity, as DTSC repeatedly has informed
                it that the fai lure to challenge an individual inspection score in the first instance counts as a waiver of
           28   any right to challenge that score in subsequent years.
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                       17.     ln issuing the Final Inspection Violation Scores, DTSC failed to take into consideration

           2   that all of the alleged violations at issue in the VSP Scores were resolved in the LA Action and occurred

           3   far outside the longest statute of limitations prescribed in the Hazardous Waste Control Law for

           4   enforcement actions, which is fi ve years. In the LA Action, DTSC (i) abandoned and withdrew many of

           5   the violations by dismiss ing them from the case, and (ii) agreed that. despite Hazmaf s payment of civi l

           6   penalti es and funding of a Supplemental Environmental Project under a settlement fo rmally reflected in

           7   a judiciall y approved Consent Decree. the violations remained unproven with no admission of liability

           8   by Hazmat.

           9           18.     Fu11her, the Final Inspection Violation Scores unfairly and unreasonably penalize
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   en 10       Hazmat, even though it is undisputed that no ri sk of harm to human health or safety or the environment
    •
    § 11       was posed by any purported ·•citation:· The conditions observed by DTS C during the inspections that
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   ~      12   were scored did not constitute violations of applicable hazardous waste management requirements in the
    "
0.. "'
    • 13       first instance and were never proven to ex ist in any judicial or administrative proceeding. Until proven,

          14   an allegation is just that - an allegation. It is arbitrary and capricious for DTSC to pun ish Hazmat on the

          15   basis of unproven allegations. especially ones like those here that occurred outside the statute of

          16   limitations .
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    C:
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          17           19.     Moreover, not one of the alleged citations rise to the level of a Class I violation because
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    • 18       they did not present a significant threat to human health. safety or the environment, or they did not
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    "u 19
   i:          constitute the management of hazardous waste. DTSC also fa iled to count all compliance inspections,
   u
          20   thereby fal sely inflating Hazmat' s VSP Score by using an incorrect denominator in its formula for

          21   determination of the score. And DTSC made several class ification and/or adjustment errors in deriving

          22   the inspection scores, including erroneous determinations that alleged violations were "repeat"

          23   violations warranting upward adjustments, and including inspections beyond the ten-year look-back

          24   period allowed by the VSP Regul ations.

                       20.     Writ re lief is proper and necessary to compel Respondents/ Defendants to perfo rm acts

          26   which the law spec ifically enjoins, and because and Respondents/ Defendants fai led to act in a manner

          27   required by law. leaving Hazmat with no adequate legal remedy. Respondents/Defendants proceeded

          28   without and/or in excess of jurisdiction and Hazmat was not provided a fa ir hearing. In addition.
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                      Respondents/Defendants prejudicially abused the ir discretion by not proceeding in the manner required

                  2   by law, and in issuing Final Inspection Violations Scores and compliance tier assignments that are not

                  3   supported by the findings, and with findings that are not supported by the evidence. The VSP

                  4   Regulations are unconstitutional and inconsistent with statutory law both on their face and as applied to

                  5   Hazmat. They deny permitted facilit ies a fair hearing and due process of law before imposing

                  6   punishment on them. including as occurred with Hazmat.

                  7             21.   Petitioner has exhausted its administrati ve remed ies. DTSC did not create any procedure

                  8   for admin istrati ve rev iew of DTSC Di spute Reso lution Official decisions or compliance tier

                  9   assignments, both of whi ch are final when issued. Absent a legal cha llenge, the arbitrary and erroneous
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        vi    10      Final Inspection Violation Scores from 20 19 and 2020 would remain against the Faci lity"s record and
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        ~ 11
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                      compliance history. including in future DTSC inspection actions and determ inations of "'repeat""
        C
        e
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        .., 12        violations (both as to purpotted violations identified in prior inspections and the purpotted violations
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...J    !.., 13       erroneous ly classified in the Final Inspection Violation Scores). Thus, this action is ripe for j ud icial
~ ~
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w   :s        14      review.
c::::   .J
!.!.;   •         5             22.   Accordingly, this Court should issue (i) a writ of mandate commanding
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r- u~ 16              Respondents/Defendants to set aside and vacate Hazmaf s 20 19 and 2020 Final Inspection Violation
    •   -0
        1;
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              17      Scores and compliance tier assignments and remanding the matter to DTSC to re-evaluate and reass ign
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        ?"    18      violation scores and compliance tiers in accordance with the law and facts; (ii) a declaration that
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           19         Respondents/ Defendants acted arbitrarily and capric iously in (a) relying on unproven citations for

              20      scoring, inc lud ing those beyond the statute of limitations; (b) classifying the alleged violations as Class I

              21      violations within the scope of the VSP Program, (c) class ify ing alleged violations as ··repeat"" violations

              22      warranting upward adjustment of the Inspection Violation Score, (d) fai ling to count all compliance

              23      inspection when calculating Hazmaf s Facility VSP Score, and (e) assigning Hazmat to the

              24      ·'Unacceptable .. and "Conditionally Acceptable .. compliance tiers for 201 9 and 2020. respectively; (iii) a

              25      declaration that the VSP Regulations are unconstitutional to the extent that they deprive Hazmat and

              26      faci lity operators like it due process of law to the extent that they rely on and score unproven allegations

              27      of misconduct to support compliance tier ass ignments and the consequences of them, including forced

              28 expenditures to conduct auditing and reporting activity, loss of control of operations by empowering
                                                                             9
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                   third-party auditors to dictate mandatory operational changes in the business, and participation in

              2    additional adm inistrative reviews. and (iv) an immediate stay and permanent injunction prohibiting

              3    Respondents/Defendants from proceed ing against Hazmat in any way based on the 2019 and 2020 Final

              4    Inspecti on Violation Scores and compliance tier assignments.

              5           II.     THE PARTIES

              6                   Petitioner and plaintiff Hazmat TSDF. Inc .. fo rmerly known as Filter Recycling Services,

              7    Inc .. is a corporation organized under the laws of the state of California and registered to do business in

              8    Ca liforn ia. It operates a hazardous waste treatment, transfer and storage faci lity at 180 W. Monte

              9    Avenue, Un it A. Rialto, Cal ifornia (the '"Faci lity..) under a permit issued by DTSC.
      "'
      .3     10           24.     Respondent and defendant DTSC is a department of the State of Californ ia, organ ized
      vi
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      u
             11    and existing under and pursuant to Hea lth and Safety Code, §§ 58000 et seq. DTSC is authorized to
      "'[:
      "-           administer and enforce Ca li fornia's Hazardous Waste Control Law (Health & Safety Code,§§ 25 100 et
0..
      "'"' 12
      V,

      • 13 seq.) and its implementing regulations (22 Cal. Code Regs., Division 4.5). yet it may not do so in an

             14    unlawful manner.

             15           25.     On info rmati on and be lief, respondent and defendant Bill Beckman is an employee of

             16    DTSC and serves as a Dispute Resolution Officer for DTSC. Mr. Bec kman issued the letter dated
      •
      -0
       "' 17
       "'
      "u
                   January 9, 2021 entitled --Prov isional Inspection Violation Score Dispute Document Decision Hazmat
       >
      u" 18        TSDF. CA D98244448 I: · in response to the Di spute Document submitted by Hazmat on December 20,
      0
       •
       co
      "' 19
      .>!
                   20 19. Mr. Beckman ·s dec ision constituted DTSCs fi nal determination for Hazmat's 20 19 Facility
      e
             20    Inspection Violation Score under the VSP Regulations.

             21           26.     On information and belief, respondent and defendant Maria Soria is an employee of

             22    DTSC and serves as its Di vision Chief, Enforcement and Emergency Response Division. Ms. Soria
             ?"
             _.)   issued the February 5, 2021 letter entitled "Noti ce of Inspection Violations Scores, 2019 Facility

             24    Violation Scori ng Procedure Score. and 20 19 Compliance T ier Assignment:· which notified Hazmat of

             r_)   DTSC s final calcu lation of its 20 19 Fac ility Inspection Violation Score and its assignment to the

             26    ··U nacceptable·· compliance tier based on Mr. Beckman·s January 9. 202 1 dec ision. Ms. Soria also

             27    issued the February 5, 202 1 letter entitled "Notice of Inspection Violations Scores, 2020 Faci lity

             28    Violation Scoring Procedure Score, and 2020 Compliance Tier Assignment:· which notifi ed Hazmat of
                                                                        10
                                                   VERIFIED PETIT I ON FOR WRJT OF M A DATE
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                   DTSC's final calcul ation of its 2020 Facility Inspection Violation Score and its assignment to the

               2   "Conditionally Acceptable·• compliance tier.

               3          27.     On informati on and belief, respondent and defe ndant Bruce La Belle is an employee of

               4   DTSC and serves as a Di spute Resolution Offi cer for DTSC. Mr. LaBelle issued the letter dated March

               5   5, 202 1. in response to the Dispute Document submitted by Hazmat on ovember 24, 2020. Mr.

               6   LaBelle's decis ion was supposed to constitute DTSC's fi nal determination for Hazmat"s 2020 Faci lity

               7   Inspection Violation Score under the YSP Regulations. but fa iled to do so since Ms. Soria issued

               8   DTSC's fin al determination for 2020 February 5, 202 1.

               9          28.     Hazmat does not know the true names or capacities of the respondents/defendants sued as
       "'
      ·5
      .3
      en      10   DOES I through I0. These parties are sued by these fictitious names pursuant to Ca lifornia Code of
      •0
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       ;:;
              11   Civil Procedure§ 474. Haz mat is informed and believes. and on that basis alleges that each of these
       <=
       e
      !.:..
       C:
       e
              12   Respondents/Defendants are responsible in some manner for the events. transactions, arrangements, or
Cl.   en
      • 13         occurrences desc ribed in this Petition and Complaint and the resulting inj uries and damages. This

       "'
       0
              14   Petition and Complaint wi ll be amended or supplemented to state these defendants' true names and
      ..J

              15   capacities when and if they are ascertained.

              16          29.     Hazmat is informed and believes, and on that basis alleges that each of the
      •
      ""e 17
       C:
                   Respondents/Defendants was the agent, joint venturer. co-conspirator, partner, aider, abettor. or
      o:;
       >
      u" 18 employee o f each of the other Respondents/ Defendants. and in doing the things alleged in th is Petition
       •
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       Oil
       e
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              19   and Complaint, were each acting within the course and scope of th is agency, joint venture, conspiracy,
      6
              20   or employment. and with each other's advance knowledge and approval or subsequent ratification.

              21          III.    JURISDICTION AND VENUE

              22          30.     This Court has j urisdiction over this action pursuant to Code of Civil Procedure § I 085

              23   or, in the alternative, Code of Civil Procedure§ 1094.5 , as well as Cali fornia Constitution, Article VI,

              24   § IO and Code of Civil Procedure§§ 88 and I 060. In addi tion. Peti tioner regularl y does business within

              25   the jurisd iction of this Court and maintains business locations in this county and within the j urisdiction

              26   of this Court. San Bernardino County is al so within the jurisdiction of DTSC's regulatory and

              27   enforcement authority.

              28          31.     Venue is pro per in this county and in this Court pursuant to Code of Civi l Procedure
                                                                         11
                                                   VE R1FIED PETITIO    FOR WR1T OF MA DATE
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            §§ 392 and 393, in that the real property, fac ility. activities, and determinations that are the subject of

        2 this action. or some part thereof. are located or occurred in San Bernardino County, where the causes of
        3   action arose or some part thereof arose as a result o f the activities described herein .

        4          IV.      EFFORTS TO REFORM DTSC AND DTSC'S RESPONSE BY CREATION OF

        5                  THE VSP REGULATIONS

        6                   Cal ifornia produces more than four bi ll ion pounds o f hazardous waste every year. At

        7   least one hundred thousand businesses generate such waste- from aerospace, computer and chemical

        8   companies. to metal shredders, gas stati ons. plating companies and dry cleaners. 5 It has to go

 V>
        9   somewhere to be disposed, which is where businesses like Hazmat come in-to hand le the waste
·3
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...l
c;;    10   responsibly.
•C
 u
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 ;:;   11          33.      DTSC is the state agency responsible for the operation of Califomia·s Hazardous Waste
 e
"-
       12   Management Program. its Browntields and Environmental Restoration Program (site investigation and
 C
~
• 13        cleanup). its Safer Products and Workplaces Program. and operation of the state' s Environmental

       14 Chemistry Lab. As relevant here. DTSC is tasked with inspecting fac il ities that produce hazardous
       15   waste and faci lities like Petitioner's that manage waste disposal. DTSC can issue citations for alleged

     16     regulatory violations. These allegations are often resolved amicably. If not resolved. however, they can
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u,.a 17     become a matter of administrati ve, civil or even criminal enforcement proceedings, during which DTSC
 "
?g,    18   must prove the allegations. 6

eJ     19          34.      DTSC hi storically has fa iled to act promptly to enforce compliance, recover penalties or

       20   impose other punishments. Felony charges must be tiled within three years: misdemeanor charges must

       21 be tiled within one year; civi l actions must be ti led within five years; and while not subject to these
       22 specific statutes o f limitation. administrative actions must be initiated promptly to insure that the alleged
       23   violator·s due process rights and ability to mount a meaningful defense are not prej ud iced. DTSC's

       24 " Enfo rcement Response Policy'·7 explains that the purpose of enfo rcement is ·'[t] o assist violators to
       25
            5 See, GOLDE WASTE LA D REGULATING TOXICS. OR TOX IC REGULA TIO ? By Liza Tucker, Consumer
       26   Watchdog. 20 13. (htt ps://www.consumerwatchdog.oni/golden-wasteland-repo1t.)
            6 When the th reat to health. safety or the environment is serious, DTSC can skip issuance of citations
       27
            and pursue immediate remedies through the cou1t s or administratively.
       28   7
              DTSC Policy No. DTSC-OP-0006, dated January 30, 2009.
                                                                   12
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                  return to compl iance and to initiate and complete enforcement actions in a timely process." It has not

             2    done so. and as a result Hazmat has been denied its due process and other rights.

             3           35.     DTSC is a dysfunctional agency. This is widely known. Over the years, the Legislature

             4    and Governor have made numerous attempts to reform the agency so it focuses on actual threats to

             5    human health and/or the environment and acts qu ickly and effici ently to address those threats. In the

            6     Background Report prepared for the February I. 2017 Joint Oversight Hearing Senate Environmental

             7    Quality Committee and Budget and Fisca l Review Subcommittee No. 2 on Resources, Environmental

             8    Protection, Energy and Transportation hearing for the Department of Toxic Substances Control:

            9     Presentation of Independent Review Panel Repo11, the Senate committee summarized the state of the
    "'
   3       10     reform efforts and ongoing fa ilings of DTSC to correct its mismanagement (emphasis added):
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    uC 11                        Specific incidents across Cali fornia have exposed and continue to expose
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   t.:..
                                 glaring failings in DTSC ' s implementation of its core programs as well as
     C     12                    its support programs.
o.. ~
    • 13
                                 The mishandling of the hazardous waste faci lity perm itting and
                                 enforcement of first the Ex ide and now the Quemetco battery recyc ling
           14
                                 fac ili ties; 8 neglected cost-recovery effo1ts for cleanups across the state
           15                    leading to an accumu lation of 1,66 1 projects tota ling almost $194 mill ion
                                 in unco llected cleanup costs dating back 26 years; a growing backlog of
           16                    applications to renew hazardous waste permits; delayed site remed iation;
    •
   -0                            fa iled public participation and transparency activities; and personne l issues
    C
   "'
   .;      17                    have all led to decreased stakeholder confidence and public trust in
    ,.,>
   Ci                            DTSC's ability to meet its mandate to protect publ ic health and the
   •0 18                         environment.
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    " 19
   6                                                                * * *
           20                    Numerous statutory changes have been made to clarify and strengthen
           21                    the statute to help DTSC better achieve its mandates. and budget
                                 augment,ations have been made to give DTSC the resources to reduce
           22                    backlogs and address outstanding program matic failings. However. many
                                 of the underly ing concerns about .. . DTSC programs remain.
           ?..,
           _ .)


                         36.     DTSC's new regulations at issue here-the Violation Scoring Procedure for Hazardous
           24
           r_)    Waste Fac ility Operations found at Article 3 of Chapter 21 of Division 4.5 of Title 22 of the California

           26
                  8 According to an April 24.20 17 report by The California Report on KQED, "The Department left the
           27     Exide Plant operate without a fu lly approved waste perm it for 33 years.•· (See , Is CALI FORN IA's TOXIC
                  WASTE REGULATOR LETTING OVERSIGHT SLIDE. https://www.kqed.org/news/ l I 35949 l /is-californias-
           28     tox ic-waste-regu lator-letting-en forcement-s Iide. ).
                                                                          13
                                                   VERJFIED PETITIO FOR WRIT OF MANDATE
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                   Code of Regulations, sections 66271.50 et seq. (the ··YSP Regulations··}-were prepared in response to

               2   years of public criticism of DTSC. These complaints reached a crescendo of sorts as the devastating

               3   communi ty and env ironmental impacts from DTSC's fai lure to take timely and effective action against

               4   the fom1er Exide Technologies battery recycling fac ility in Vernon and the Kettleman Hills Hazardous

               5   Waste Facility in Kings County became widely known.9 Someth ing had to change.

               6            37.    In 20 14. Senator Kevin de Le6n introduced a bill in response to DTSC s Exide

               7   Technologies and Kettleman Hills catastrophes. seeking to standardize DTSC permitting decisions and

               8   require hard deadlines for processing permit applications (Senate Bill 812). Exide had operated fo r

               9   years without a permit. The bill analysis prepared for the first hearing on this bi ll by the Senate
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       .3     10   Commi ttee on Environmenta l Qua lity detai ls DTSC s embarrassing history of fa iled oversight of Exide
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              11   and the resulting impact on the environment and the community around the Ex ide fac ility, wh ich is still
       C:
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       "'-
        §     12   contaminated today. SB 81 2 was passed by the Legislature but Governor Edmund Brown vetoed it.
0.. " '
...J   • 13        tell ing the Legis lature in his veto message that he believed that the bill would ··unintentionally delay the
       u"'"
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er.    01)


=~ 14              [DTSC' s] current plan to rev ise its program and complete its rev iew of expi red perm its:· Undeterred,

              15   and with DTSC having made no progress reforming itself, in 20 15 the Legis lature again acted to reform

              16   DTSC .
       •
       "O

       u§> 17               38.   On January 9, 20 15, the Senate Committee on Budget and Fiscal Rev iew introduced
       "
       ~ 18        Senate Bill 83 (Stats.2015, Ch. 24). which addressed a number of environmental issues, including
       ~
       " 19
       e-~         DTSCs backlog of permit and enforce ment actions. It passed and was approved by the Governor on

              20   June 24, 20 15. Among the provisions addressing DTSC was one that created ·'an independent review

              21   panel, comprising three members, to review and make recommendations regarding improvements to the

              22   department" s permitting, enforcement, pub lic outreach , and fi scal management.'· (The Background

              23   Report quoted in Paragraph 35 was prepared in connection with the lRP"s 20 17 repo11.)

              24            39.    On February 27, 20 15. two more pieces of legislation were introduced, both of which

              25   foc used directly on DTSCs hazardous waste program and were in response to the Governor· s veto of

              26   SB-81 2: Assembl y Bi ll I 075 (Stats.20 15, Ch. 460, authored by Luis Alejo) and Senate Bill 673 (Stats.

              27
                   9  In contrast to Exide or Kettleman Hi ll s, Petitioner has no history of discharges, spi lls, releases or
              28   threatened discharges, spill s or releases.
                                                                          14
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              20 15. Ch. 6 1 I, authored by Ricardo Lara). These pieces of companion legislation were presented to the

          2   Governor on September 17 and 16.2015, respecti vely, and were signed into law on October 2 and 8,

          3   20 15, respectively.

          4          40.      AB 1075 had three components: (i) it eliminated the requi rement that a hearing be held

          5   before suspending a permi t when DTSC determ ined that cond itions may present "an im minent and

          6   substantial endangerment to health. safety or the environment;" (ii) it increased penalties on repeat

          7   violators: and (iii) it established a new de finition of .. violation" and .. noncompliance'· and specified that

          8   it would be a compe lling cause to deny, suspend or revoke a permit when a person was.found liable.for,

  "'
          9   or convicted of, three or more violations or instances of noncompliance within a.five year period. In the
 ·5
 ....l
 tn
         10   Bil l Analysis for the April 14. 2015 hearing of the Assembly Committee on Environmental Safety and
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  u
         11   Toxic Materials. it explained in the comments section:
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 u.
  C:     12                   Need.for the bill: According to the author, ·'AB I 075 establi shes a bright
 "'•"                         regulatory line fo r permit denial and revocation. The key feature of AB
         13                   1075 is to strengthen the authority of the Department of Toxic Substance
         14                   Control (DTSC) by specifying that three or more serious violations during
                              a fi ve-year period results in a clear obligation on DTSC to revoke a
         15                   hazardous waste fac ility perm it. AB I 075 was deve loped based on the
 E"'
  E                           information gathered at the Environmental Safety and Toxic Materials
r ~      16                   oversight hearing in September of20 14. where community groups came
 •
 "O                           forward to report on issues in their neighborhood."
  C:
 "' 17
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  u
 G                   41.      SB 673 required DTSC to establish or update criteria for use in determining whether to
 •0 18
  OD
 "'u 19       issue a new. mod ified or renewed hazardous waste facilities perm it. and required DTSC to develop and
 6
         20   implement programmatic reforms designed to improve the protectiveness. timeliness. legal defensi bility.

         21   and enforceability of the department' s permitting program_I o In the Bill Analysis for the July 14. 2015

         22   hearing of the Assembly Comm ittee on Environmental Safety and Tox ic Materials. it explained in the

         23   comments section:

         24                   Need.for this bill: According to the author. '·Recent high profile cases
                              involving perm itted faci lities such as the Exide Technologies battery
         25

         26   IO" In early 20 12, DTSC launched the 'F ixing the Foundation' initiative to address issues that threatened
              DTSC's abil ity to achieve its miss ion and to ensure accountability:· (See , FIXING TIIE FOUNDATION:
         27   RESTORING PUBLIC TRUST fN DTSC, https://assets.documentcloud.org/documents/3468895/Fixing-the-
              Foundation-WP.pdf.) DTSC itself identified these same programmatic reforms as goals it would
         28   achieve, yet it fa iled to do so. (Id.)
                                                                   15
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                                 recycling facility in Vernon. CA, and the Kettleman Hills Hazardous
                                 Waste Faci lity in Kings County°have raised significant environmental
              2                  justice concerns from the communities surrounding the fac ilities and have
              3                  led to criticism of the department's permitting procedures and
                                 responsiveness to community concerns: ·
              4
                         42.      These statutes were an attempt to refonn DTSC to make it more efficient and accountable
              5
                  fo r current, ongoing, pollution and contaminati on. They statutes did not authorize DTSC to pursue
              6
                  permit revocation for a faci lity based on unproven citations that are statutorily time-barred by the fi ve-
              7
                  year statute of limitations for judicial enforcement actions. and that do not satisfy the conditions of AB
              8
                  I 075 (three or more final adjudications of liability/convictions within a fi ve-year period). These new
              9
      "'5
      .3          regulations threaten revocation of Petitioner's permit (and those of other hazardous waste facility
      cii
             10
      •C          operators) based on a complex system of rating citations issued over a ten- not five-year period to
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       ~     11
       C:
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      '-'-
                  determine whether DTSC should initiate permit revocation or suspension proceedings. In addition to
       C:    12
0..   "
      Vl I
                  ignoring the Legislature's mandate that a fi ve year look-back period was appropriate, the YSP
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      01}
             13
      C:          Regulations score and hold against operators alleged violations that were never proven, includ ing
= --= 14
                  al leged violations that DTSC dismissed and/or abandoned during the course of contested enforcement
             15
                  proceed ings and alleged violations that were settled without any admiss ion of liability or wrongdoing by
             16
      .,,•
      C:
                  the operator, and they go far beyond the legislati ve mandate by imposing requirements not contemplated
      0
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             17
      >
      u 18 or authorized by AB I075 or SB 673. Worse yet, DTSC's new regulations turn a blind-eye to whether a
      CJ


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      01}

      "u 19       fac ility is operating well today!
      6
                                  A.      The VSP Regulations
             20
                         43.      DTSC promulgated the VSP Regulations pursuant to SB 673. in whi ch the Legislature
             21
                  directed DTSC to adopt regulations establishing or updating criteria for hazardous waste permit
             22
                  decisions. SB 673 as pro posed. adopted and codified at Health and Safety Code section 25200.2 1,
             23
                  directs DTSC to adopt regulations .. fo r the issuance of a new or modi fied perm it or renewal of a permit,
             24
                  which may include criteria for the denial or suspension of a perm it:· The VSP Regulations were
             25
                  initially proposed on September 22. 20 17. After substantial public comment and further regulatory
             26
                  review. the fina l regulati ons were issued November 2.20 18. with an effective date of January I.2019.
             27
                  These regulat ions apply to existing perm itted hazardous waste facilities. except for those fac ilities solely
             28
                                                                        16
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               authorized under a post-c losure perm it or order. or a permit or permit modification for closure only.

           2            44.      ln violation of the Legislature's directive to adopt regulations providing for the '·den ial or

           3   suspension of a perm it,'" the VSP Regu lations purport to grant DTSC the authority to pursue revocation

           4   of a permit. (See e.g., Section 66271.50(e).) 11 This is improper and illegal.

           5            45.      Beginn ing with 20 19. DTSC must issue an annual "Facility VSP Score'· to each covered

           6   fac ility by September 30 of each year. (Section 6627 I .54(c).) The "Facility VSP Score.. is determ ined

           7   by adding all fina l •' inspection vio lation scores" for each ··compliance inspection'· conducted over the

           8   preceding ten years, divided by the total num ber of compliance inspections perfo rmed over that ten-year

           9   period. (Section 6627 l .54(a).) Under this new paradigm, each inspection score is critical ly important as
    "'
   ·::;
   .3
   en     10   it stays on a fac ility's record fo r ten years absent a successfu l challenge, and it is used in calculating ten
    •C
    ~
    u
          11 years· worth of Fac ility VS P Scores-scores which determi ne a fac il ity's annual compliance tier
    "E
   u.
          12   assignment and may form the basis for the imposition of penalties, including potentia lly permit
    ",:
0.. "'
    •
          13   suspension or revocation.

          14            46.      With regard to a fac ility's compliance tier assignment: ( I) a VS P Faci lity Score of less

          15   than 20 results in an automatic assignment to the '·Acceptable .. compliance tier; (2) a VSP Facility Score

     16        higher than 20 but less than 40 results in an automatic assignment to the "Conditionally Acceptable ..
   •
   "O
   " 17
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    ,:         compliance tier; and (3) a VSP Faci lity Score of 40 or higher results in an automatic assignment to the
    >
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   [i
    • 18       ··u nacceptable.. compliance tier. (Section 6627 I .54(b).) "Acceptable"' and ··Conditionally Acceptable'·
    0
    00
    "... 19    compli ance tier assignments are final and not subj ect to fu11her administrative rev iew. (Section
   6
          20   6627 I .54(e).)

          21            4 7.     DTSC retroacti ve ly assigned scores for every alleged violation during the period January

          22   I , 2009 - December 3 1, 20 18. Prior to the new VSP Regulations, no such scori ng was performed or

          23   contemplated and, therefore. fac ility owners and operators had little incentive to litigate every citation

          24   alleged by DTSC because, in many cases. the matters could be resolved with a permit amendment or

          25   corrective measure. Indeed, a fac ility had no opportunity to challenge al leged vio lations that merely

          26   were cited by DTSC with paperwork prepared and no further government activity taking place. Thus,

          27   ·'violati ons·• dating back to 2009 might not have been relevant in the first instance, but these alleged

          28   11   Section references are to Title 22 of the Cali fornia Code of Regulations unless otherwise noted.
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                citations ceased to have legal significance once the fi ve-year statute of li mitations expired. The YSP

            2   Regulations have. however, resurrected these sta le events and DTSC is using them in violation of the

            3   law to impose consequences, including potentially permit revocation, on Hazmat and others as alleged

            4   herein. On information and belief, the scoring of these stale violations was performed by DTSC

            5   employees that. in many cases. did not conduct the inspections at issue and/or have any knowledge of

            6   the events because they are outdated.

            7           48.     Significantly. issues identified during inspections while labeled ·'violations.. by DTSC are

            8   anything but. as both the Hazardous Waste Control Law and DTSCs own internal inspections policy

            9   makes clear. Health and Safety Code § 25 185 governs DTSC inspections. It requires inspectors to
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    Yi
           10   prov ide operators a written sum mary of --all violations alleged by the inspector•· at the end of an
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     0
           11   inspection. and to provide an inspection report that ..fu lly detail[s] .. . all alleged violations .. with in 65
     C:
     e
    "-     12   days of completion of the inspection. (Health & Saf. Code § 25 I 85(c)( I ) (emphasis added).) The
     C:
    "'
C.. VI
..J •
..J "'     13   operator has a right to respond to the al legations. and DTSC is required to respond in writing within 30
    u"
=~ 14
-   eJ)



    ~
                days and state in a --report of violation or other appropriate document.. whether the allegati on stands.
    ...J

           15   (Health & Saf. Code § 25 I 85(c)(3 ).) Should DTSC fail to prov ide such a response, it "may not seek

           16   penalties for continuing violations or any alleged new violation.. until it renders a fina l deci sion. (Health
    •
    "'O
     C:
    "' 17
    ~
                & Saf. Code§ 25 I 85(c)(3).) DTSC's internal policy entitled ··DTSC Policy for Conducting
    >
    "
    Ci
    •0 18       Inspecti ons•· (Policy No. DTSC-OP-0005 dated January 30. 2009). mirrors this approach.               eve,t heless,
     00
    "',! 19     DTSC is improperly treating alleged violations cited by an inspector as concl usively established and
    e
           20   scoring these all eged violations under the YSP Regulations in a manner that deprives Hazmat and other

           2 1 operators due process of law. DTSC has illegally promoted themselves to prosecutor, judge and j ury by

           22   treating every unproven allegation dating back ten years as a conviction.

           23           49.     On a going fo rward basis, DTSC inspectors are to notify operators of the ind ividual

           24   scores fo r each alleged violation --concurrently with the inspection report provided to the owner or

           25   operator.·· (Section 6627 1.53(6)( l ).) For inspections that occurred before adoption of the YSP

           26   Regulations. however, DTSC noti fied the operator of the score fo r each alleged violation when it

           27   provided the --Provisional Inspection Violation Score.. in September 20 19. (See Section 6627 I .53(b)(2)

           28   and Section 6627 I .54(c).) During a webinar about the YS P Regulations that took place after the 201 9
                                                                         18
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                    provisional scores were issued, DTSC to ld operators that they had to challenge each of the individual

                2   provisional inspection scores issued in 20 19 or forever lose the right to challenge these individual scores

                3   in future years. There is no language in SB 673 or the VSP Regulations that support this interpretation,

                4   however, and it amounts to an i!legal ·'underground .. regulation that violates Government Code

                5   § 11 342.2 and cases such as In re Edwards (20 18) 26 Cal.App.5th 1181.

                6                   8.      Scoring of Alleged Violations and Calculation of Facility VSP Score

                7           50.     Under the VSP Regulations, only individual "Class I.. violations may be scored: ··The

                8   Department shall only consider Class I violations, as defined in section 66260.10. for purposes of

                9   calculating the Facility VSP Score in accordance with this article:· (Section 6627 1.S0(c) (emphasis
       "'::;
      3
      en       10   added).) In turn, Section 66260.10 defines a Class I violation to mean: "a deviation from the
       •0
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       u
               11   requirements [of the law and/or perm it documents] that represents a significant threat to human health or
       "e
      !.:..
           12       safety or the environment, because o f· spec ified circumstances. or .. that is significant enough that it
0..    "'"
      V)

..J    • 13         could result in a fa ilure to:'' assure hazardous waste is delivered to an authorized facility: prevent
..J    "'"
      -;:;
~      00
-     -2 14         releases of hazardous waste or constituents during facility operation or closure: assure early detection of
c::
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CJ.l "'
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       "'
       ::;
      .D
               15   a release: assure adequate financ ial resources are available in case of a release or to pay for facility
       E
       ::,
f- u0          16   closure; or perform emergency c lean-up or corrective action. In other words, the VSP Regulations
       •
      -0
       C:

      "
      .;       17   prohibit the scoring of alleged violations that do not represent a significant threat to human health.
       >
      "
      Ci
       • 18         safety or the environment. Yet as alleged herein. DTSC ignored its own regulations and scored
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       OD

      " 19
       ~
                    numerous violations that do not qualify as Class I violations under the law. And, as noted. the
      6
               20   inspections being scored under the VSP Regulations in most cases were never proven-as is the case

               21   with Hazmat.

               22           51.     The VSP Regulations established a highly subjective numeric ranking program fo r the

               23   purported "violations" that translates alleged ·'Class I.. violations to a numeric score. (See Section

               24   66271.5 1.) The alleged violations are graded for (i) potential harm to human health, safety or the

               25   env ironment. and (ii) the extent of deviation from hazardous waste management requirements. In both

               26   cases, the alleged violation is classified as either ·'maj or.'' '·moderate." or .. minimal .'' and a matrix is

               27   consulted which dictates the numeric score (e.g. , an alleged violation with a ··major•· risk of harm but

               28
                                                                             19
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            minimal dev iation from waste management requirements counts as 15 points). 12 (/d.) DTSC then

        2   applies upward ··adjustment factors·· if the alleged violation is a repeat vio lation. which can increase the

        3   score by 25 , 50 or I00% depending on the number of repeated occurrences. (Section 6627 1.52.)

        4   However, DTSC is prohi bited from counting any violation that has ' been cancelled. retracted,

        5   withdrawn. or successfull y challenged in an administrative or judicial proceeding: · (Section

        6   6627 1.52(6).) DTSC has impro perly used unproven alleged violations as the predicate for making

        7   upward scores adj ustments for ··repeat"' violations, and it has made upwards adj ustments for '·repeat"

        8   violations using alleged violations that were abandoned by it.

        9              52.    The VS P Regulations define the terms ··major," '·moderate;· and ·'mini mal"· for each of
 "'
·5
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c;;    10   the criteria. but they fa il to provide clear or constitutionally valid criteria for assigning any alleged
•0
 i,:   11   violation for ·'risk of harm·· to any of the three categories. Spec ifica lly. Section 66271.51 (b)( I )(A)
 g
 :::
Ct.
 §     12   defines a ··maj or" potential fo r harm tautologically, as one that " present[s] a major threat to public health
"'
       13   and safety or the environment and the circumstances of the violation indicate a high potential for harm'"

       14   based on the substances invo lved. A ··moderate"' potential fo r harm is defi ned as one that does not

       15   present a major th reat. " but the threat is more than minimal."' (Section 6627 1.5 1(b)( I)(8 ).) The

       16   definiti on fo r ··minimal'" threat returns to the tautological approach, defi ning it as one that ··present[s] a
•
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 ,::
,:
-;:;   17   min imal threat to public health and safety or the environment and the circumstances of the violation
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Ci
• 18        indicate a low potential fo r harm·· based on the substances involved . (Section 6627 1.5 1(b)( I)(C).)
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co
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.g 19       Guidance is prov ided for evaluati ng the ··potential harm" from the deviation. but that too uses subjective
Ci
       20   factors:

       21                     In determining the degree of potential harm, the Department shall consider
                              the fo llowing factors:
       22
                              (A) The characteristics of the substance involved;
       23

       24   12   This new matrix is set forth at Section 6627 1.51 (d) and is re produced here:
       25                                                       Potential Harm
                                                           Major               Moderate              Mi nimal
       26                            Major                  25                     20                   15
                                   Moderate                 20                     15                    6
       27
                                    Minimal                 15                      6                    2
       28
                                                                    20
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                             (B) The amount of the substance involved;
         2                   (C) The extent to which human life or health is threatened;

         3                   (D) The extent to which animal life is threatened;

         4                   (E) The extent to which the environment is threatened; and

         5                   (F) The extent to which potable water supplies are threatened.

         6   These subjective factors result in the unequal and inconsistent application of the scori ng criteria by

         7   DTSC employees. violating the equal protection and due process rights of permittees guaranteed under

         8   the United States Constitution. the California Constitution. as well as the statutory and regulatory

-~       9   guarantees of equal protection provided under the Hazardous Waste Control Law (i.e .. Health & Safety
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....l

vi
        10   Code§ 25 l 80(d) and Section 66272.60(c)). In fact, on information and belief, the first DTSC employee
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 u
        11   that prepared Hazmat's 2019 Provisiona l Inspection Violation Score placed it in the "Acceptable ..
 C
 e
"-      12   compl iance tier. DTSC cou ld not let that stand. however, and DTSC removed him from participation in

        13   the Hazmat matter before his score was sent to Hazmat and assigned another employee to prepared a

        14   replacement 2019 Provisional Inspection Violation Score-one that put Hazmat in the '·Unacceptable"

        15   compliance tier.
        16           53.     As noted, Scores for ind ividual inspections must be adjusted upward if they constitute
•
"O
g       17   repeat violations: 25% for a second violation, 50% for a third violation, and I 00% for the fou rth or any
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             additiona l violations. (Section 6627 I .52(c).) These adjustments, however, can only be imposed where a
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        19   fac ility received a "summary of violations" identifying the same issue within the last three years, or last
6
        20   three inspections. whichever period is longer, subject to the ten-year look back period. (See Sections

        21   66271.5 1(a) and 6627 I .52(b).) In violation of its rights. DTSC illegal ly used alleged violations older

        22   than ten years in calcu lating Hazmat's 2020 Faci lity YSP Score, and improperly adjusted upwards

        23   subsequent alleged violations as repeat violations based on the earlier alleged violations that were more

        24   than ten years old .

        25           54.     Under the VSP Regulations, no violation can be scored-whether as a repeat violation or

        26   otherwise-if DTSC abandoned the alleged vio lation before it was proven. Specifically. Section

        27   6627 I .54(a)(2) states, with added emphasis: ··The score for any Class I violation that has been

        28   cancelled, retracted, withdrawn, or successfully challenged in an administrative or judicial
                                                                  21
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                  proceeding may not be included in the Fac ility VSP Score ... (See also, Section 6627 I .52(b) (addressing

              2   repeat violations with identical language).) Nonetheless. Respondents/ Defendants have improperly

              3   included in Hazmat's Final Facility VSP Scores alleged violations that DTSC dismissed during the

              4   course of a civil j udicial enforcement action and alleged violations that were settled without any

              5   admission of liability (i.e., the LA Action). Failing to exclude the violations reso lved in the LA Action

              6   resulted in DTSC improperly inflating Hazmat" s 20 l 9 and 2020 provisional inspection scores above

              7   zero. resulting in invalid scores of 62.2 1 for 20 19 and 36.45 for 2020.

              8          55.     To arrive at a Facility VSP Score. all of the individual scores for each al leged violation

       "'
              9   over the prior ten years are totaled and divided by the number of compliance inspections that took place
      ·5
      .3
      cii
             10   during the prior ten year period. (Section 6627 I .54(a).) Thus, proper identification of each ·'compliance
      •0
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       u
          11      inspection" is essential in determining a Facility VSP Score, since that score is calcu lated by dividing the
       C:
       e
      "-
       ,, 12
       C:         prov isional inspection scores by the total number of compliance inspections. The term "compl iance
a..   Oil
      • 13
                  inspection" is defined in Section 6627 I .50(a)( I) as follows (with added emphasis):

             14                  CompI iance inspection" means an evaluation of a hazardous waste
                                 fac ility's compliance with any operating hazardous waste management
             15                  requ irements set out in statute, regulation, permit, order, stipulation,
                                 agreement, settlement document, judgment. decree, grant of authorization
             16
      .,,•                       issued by the Depa11ment, or other document establishing requirements
      a 17
      ~
                                 upon operations at the fac ility. '·Compliance inspection·· incl udes, but is
       >                         not limited to. schedu led and unscheduled inspections by the Department.
      u" 18                      A ··compliance inspection"' may last more than one day .
       •
      ,,u~
      1:     19
      u           When adding up inspecti ons, however, Respondents/Defendants ignored the plain language of this
             20
                  definition as well as its own Inspections Policy, DTSC-OP-0005 (January 30, 2009), and improperly and
             21
                  illega ll y inflated Hazmat's Fac ility VSP Score and its compliance tier assignment. DTSC failed to count
             22
                  at least nine inspections performed of Hazmat when calculating the 20 I 9 Facility VSP Score-DTSC
             23
                  used a denominator of 7, when it should have used 16. For the 2020 Facility VSP Score. DTSC failed to
             24
                  count 6 inspections and improperly used a denominator of 5, when it should have used 12.
             25
                                 C.      Challenges to Provisional Inspection Violation Scores and Compliance Tier
             26
                                         Assignments
             27
                          56.    According to DTSC, the VSP Regulations ··encapsu late the totality of the criteria and
             28
                                                                       22
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               steps that govern the consideration of a faci lity·s compliance history by DTSC in making specified

           2   permit dec isions and the remedies avai lable to an owner or operator in response to decisions proposed or

           3   made by DTSc:· (https://dtsc.ca.2:ov/violations-scorimz-procedure/.) The numeric scores ass igned for

           4   each individual inspection. therefore, can only be challenged through the YSP Regulations. (Section

           5   66271.53.) Following DTSCs issuance of an annual .. provisional inspection violation score:· a fac ility

           6   operator has sixty days to ti le an administrative challenge to the scores by submitting a ·'Dispute

           7   Document"" under Section 66271.53. ·'W ith in ninety (90) days after receipt of a Dispute Document. the

           8   dispute resolution official shall issue a written dec ision granting or denying, in whole or in part, the

    "'
           9   relief sought by the owner or operator:· (Section 6627 I .53(c)(4) (emphasis added).) The YSP
   ·5
   .3
   vi
          10   Regulations make clear that the decision of the Dispute Resolution is the final decision as to a Facility
    •
    C
  • 1A    II   VS P Score: ·'The written decision of the dispute resolution offic ial is the Department" s final decision
    u
    C
    C,
   c;:
    C     12   and is not subject to additional administrative dispute resolution." (Id.) In this case, DTSC s response
    "
0.. Vl
    • 13 to Hazmaf s 20 19 Dispute Document was not issued until thirteen months after it was subm itted. which

          14   as alleged below. deprived it of its rights and caused it harm.

          15           57.     The fina l inspection violation score determ ined by DTSCs dispute resolution official is,

          16   effecti vely, the compl iance tier assignment because those tiers are based solely on the numeric score.
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    C,
          17   (Section 6627 I .54(b).) Compliance tier assignments of --Acceptable.. or ··Conditionally Acceptable"' are
    >
    :,
   [i
    • 18       also final agency actions subject to no further adm inistrative rev iew. (Section 6627 I .54(e).) The YSP
    C
    Ol>
    C,

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   [i
          19   Regulations purpo1t to provide a process for further administrati ve review for an "Unacceptable'·

          20   compliance tier assignment. but that review is illusory because owner/operators are requ ired to

          21   implement punishment imposed on "Conditiona lly Acceptab le" owner/operators in an im possibly short

          22   60-day time frame just to exercise the right of appeal.

          23           58.     Specificall y, Section 6627 1.57(c) of the VSP Regulations gives operators 60 days to fil e

          24   an appeal of an ··Unacceptable .. compliance tier ass ignment. To do so. subdivision (d) of Section

          25   6627 1.57 prov ides that the operator ··must demonstrate. in writing,'· five things: ( I ) they can operate the

          26   fac ility in comp liance with all environmental laws and perm its (2) the fac il ity, '"as constructed.'" can be

          27   operated in compliance with all environ mental laws and permits: (3) the continued operation of the

          28   fac il ity is unl ikely to adverse ly affect health, sa fety or the environment, (4) the fac ility is in compliance
                                                                        23
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                   with financial assurance and liability coverage for closure and post-closure purposes. and (5) ..[a]t least

               2   one aud it report required pursuant to this article demonstrates both of the fol lowing: (A) an ongo ing

               3   pattern of compliance with appl icable hazardous waste management requirements; and (B) full

               4   implementation of actions to correct defic iencies and address findin gs of prior audits.'·

               5           59.     The only audits discussed in Article 3 of Chapter 2 1 of Title 22 of the California Code of

               6   Regulations are the audits requ ired of fac ilities assigned to the "Conditionally Acceptable·· compliance

               7   tier. Accordingly. the VSP Regulations automatically impose the pun ishment reserved for

               8   "Conditionally Acceptable'· operators on alleged ·'Unacceptable" operators and require those presumed

       .,,     9   innocent operators to perform the punishment just to exerc ise their rights of appeal. And that
      ·3
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      ....l
      vi
              10   punishment- the aud it req uirement-is both draconian and literally impossible to perform within the
       •0
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       u
              11 60-day time frame DTSC allows for an Unacceptable operator to fil e an appeal. As such. the VSP
       "'e
      t.:..
              12   Regulations on their face deny Hazmat and other operators due process of law.

              13           60.    The YS P Regulations also deprived Hazmat due process and its other legal rights through

       .,,
       0
              14   the way DTS C applied the regulations aga inst Hazmat. Specifically. DTSC's de lay in issuing a Dispute
      ....l
u.:   • 15         Resolution Officer decision on Hazmat's 20 19 Dispute Document-an abuse that is compounded by
      E"'
       E
F-- "E
    u         16   DTSC"s refusa l to recognize that the 2020 compliance tier assignment of ··Conditionally Acceptable"
      •
      "O
      a
      u 17 moots the 20 19 ··Unacceptable·· designation. DTSC is arbitrari ly, un fa irly and illegally forcing Hazmat
       ,.
       G)

      Ci           to endure punishments reserved for Unacceptable operators even though it concedes Hazmat is not an
      •0 18
       OJ)

       "'<>
              19   ·'U nacceptable·· operator based on its 2020 find ings, includ ing puni shment cons isting of (i) the forced
      6
              20   pa11icipation in a '·public meeting regard ing the facility's ' Unacceptable ' compliance tier assignment"' at

              21   which Hazmat wi ll be shamed and defamed for its purported misconduct based solely on unproven,

              22   withdrawn and settled allegations, (i i) the costs for implementing changes to its faci lity and operations

              23   dictated by a third-party ·'auditor,'" despite no allegations of misconduct ever having been proven, and

              24   (iii) the burdens of a permit revocation or suspension proceeding. (See Section 6627 l .57(d) - (t)).

              25                   D.      DTSC'"s Unconstitutional Imposition of Punishment and Taking of Property

              26                           By "Auditing"

              27           61.     The fac ility audit requirements are set out in Section 6627 1.56. Regard less of whether

              28   they are applied to an operator designated "Conditiona lly Acceptable·· or '"U nacceptab le;· the aud it
                                                                         24
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                requirements are illegal and unconstitutional and deprive permittees of their property without either

            2   compensation or due process of law in violation of both the state and federal constitutions. as they divest

            3   operators of control of their business operations, giv ing that control to a third-party auditor, DTSC itself,

            4   or some combination of the two.

            5              62.   Onl y auditors approved in writing by DTSC may conduct an audit. (Section

            6   6627 I .56(a)( I)(A)(2).) If an operator fai ls to propose an auditor acceptable to DTSC, then DTSC

            7   choses the auditor and the operator is required to retain and pay that person to conduct the audit.

            8   (Section 66271.56(a)( l)(A)(4)-(5).) DTSC essentially deputizes hand se lected auditors to perform the

            9   work of DTSC, at the expense of the operator. The aud itors are beholden to DTSC because their income
     "'
    .3     10   depends on DTSCs personal approval of them. The aud itors will also be moti vated to keep the operator
    vi
    •0
     ~
     u
           11   in the ··Conditionally Acceptable .. tier to mai ntain their li velihood. This is an inappropriate abdication
     C
     e
    "-
     C
     C,
           12   of DTSC' s function, albe it one that wi 11 create new employment opportunities for DTSC retirees.
0.. [/)
    • 13                   63.   Under the VSP Regu lations, the process of just proposing aud itors and obtaining DTSC

     "'
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           14   approval can last as long as I 05 days until the auditor is retained and working-well past the 60 days for
    .J

           15   an '"Unacceptable .. operator to submit an appeal that includes submission of the results of the audit. But

           16   even assumi ng DTSC approved se lection of an auditor right away, even in less than a week from
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    2      17   issuance of the ·'Unacceptable.. compliance tier assignment, the operator could not submit a timely
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     !)

    Ci
    • 18 appeal because Section 6627 l.56(a)( I )(A)(5) requires that the appeal include both the results of the
    0
    Oil
    C,
     Sa
           19   audit and a .. ful I implementation of actions to correct deficiencies.'' This is a process that, under the
    6
           20   VSP Regulations themselves, takes well more than one year to complete. thus the regulation are fac ially

           21   invalid.

           22              64.   Under Section 6627 I .56(a)( I )(C), a fac il ity has to conduct one audit within 270 days of

           23   auditor selection. and a second aud it between six months and one year after the initial report is complete.

           24   Following each of these audits. the operator must submit fo r approval by DTSC "a corresponding

           25   implementation plan" setting forth how it will '·correct all deficiencies and address all findings of the

           26   auditor:· (Section 6627 I .56(a)( I )(C)(2).) Once approved by DTSC, the activities listed in the

           27   " implementation plan·• become --enforceab le comm itments.•· (Section 6627 1.56(6).) The operator has

           28   no ability to object to or refuse to implement any recommendations made by the auditor, so it loses
                                                                       25
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               control of its business. The operator must change its operations to satisfy the auditor and DTSC. which

           2   changes can invo lve extensive capital investment to change facility design. equipment and operations

           3   and/or employees.

           4          65.     The audit process is an outrageous and illegal taking of property in violation of law. It is

           5   not a mere review of operations and reporting of findings and recommendations. Rather, it is

           6   functionally a complete takeover of fac ility operations by the auditor and DTSC. The loss of control

           7   starts at the auditor se lection phase since DTSC has absolute discretion on aud itor selection. It does not

           8   matter how much the auditor may charge an owner/operator, whether in the abstract or as opposed to

    !!?
           9   other qualified auditors. It does not matter how an auditor may conduct themselves personally whi le
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   ..J

   vi     10   interacting with an operator and its employees, or whether there is any history between the auditor and
    •
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    u
          II   operator that might make use of DTSCs selected auditor inappropriate. For example. DTSC could
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    e
   "-
    C     12   force Hazmat to hire Jones under this provision if he retired from DTSC--despite Jones having both
    "
c.. "'
    • 13 misapplied Hazmaf s permit in the past and. as uncovered through discovery in prior litigation between

          14   Hazmat and DTSC. despite Jones ' s having initiated his own "complaint.. in order to work the Hazmat

          15   file and his attempts to illega lly entrap Hazmat by having generators intentionally send material to

          16   Hazmat that he believed Hazmat could not accept to create "violations:· An operator must use the

               auditor DTSC chooses. And it must design a "compliance implementation plan'' to make operationa l

               changes to address every find ing made by the auditor. It has no choice but to implement that plan once

               it is approved by DTSC.

          20          V.      HAZMAT'S VSP SCORES, DISPUTE RESOLUTIO                         OFFICER RULINGS AND

          21                  COMPLIANCE TIER ASSIG ME TS

          22                  A.      Hazmat's 2019 VSP Score (2009- 2018)

          23                          1.      Provisional 2019 Score and Hazmat's Dispute Document

          24          66.     On September 27.2019. DTSC issued to Hazmat its 2019 provisional inspection

          25   violation score and scoring ·'matrix·· listing each of the inspections and individual violations scored by

          26   DTSC. They covered the ten-year period 2009 through 20 18. 13 DTSC gave Hazmat a provisional

          27
               13 A true and correct copy of Hazmat's 20 19 Provisional Inspection Violation Scoring Notice and Matrix
          28   is attached as Exhibit A.
                                                                  26
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                 Fac ility YSP Score of 63.75. which automatically wou ld place it in the ··Unacceptable" compliance tier.

             2   The score was purportedly based on seven inspections occurring, according to DTSC, on the dates and

             3   given the provisional violation inspecti on scores listed below:

             4                  1.      6/29/09 CE! and 6/30/09 FRR (3 alleged violations; provisional score of 70.00);

             5                  11.     9/28/09 FUI 14 ( IO alleged violations; prov isional score of 190.25);

             6                  111.     11/ 16/09 FCI (no violations):

             7                  1v.     4/9/ 12 FU! (8 alleged violations: provisional score of 178.50):

             8                  v.      6/24/ 14 C l (no violations):

             9                  v1.     7/2/1 4 CEI and 8/20/ 14 FRR (I alleged violation, provisionally scored 7.5);
     "'
    ·g
    ....J
    in
            10                  v11.    4/6/1 8 FRR (no violations).
     •0
     ~
     u
            11   As noted. the scores fo r the ind ividual alleged violations were not generated contemporaneously with
     C:
     e
    "-
     a 12 the inspections at issue and. on in formation and belief. were generated sometime in 20 19 when DTSC
0.. en
     • 13
    ""'          prepared Hazmat's 20 19 provisional inspection violation score. Further, on info rmation and belief:
    OJ
-    Oil
     C:
    -<      14   these scores do not reflect Hazmat's true prov isional scores, as those scores were deve loped by the first

            15   DTSC employee who placed Hazmat in the "Acceptable category;· yet DTSC improperly rejected his

            16   ca lculations and generated and served Hazmat with these fa lse scores. That the first DTSC employee
    "O
     "" 17
    OJ
                 generated an initial set of scores suggests one of two things, both of which prove DTSC 's YS P
       >
    D "
    •0 18        Regulations and their implementation are illega l: (i) the cri teria for scoring alleged violations are
     Oil
      "u 19
    e            hopelessly and unconstitutionally vague and unde fined, such that they cannot be applied consistently by

            20   DTSC employees. or (ii) DTSC intentionally generated fa lse scores fo r Hazmat in order to place it in the

            21   Unacceptable com pliance tier so it could pursue permit revocation, despite Hazmat' s exceptional

            22   regulatory compliance during the past six-plus years .

            23          67.     On December 20, 20 19, Hazmat submitted its Dispute Document challenging the 20 19

            24   provisional inspection violation scores. 15 Hazmat challenged globally various categories of alleged

            25   violations. as well as individual violation scores, and DTSCs improper in flation of the score by fa il ing

            26

            27   14 Erroneously identified by DTSC on its matrix as --6129/09 FUI.'"
                 15 A true and correct copy of Hazmat's 2019 Dispute Document is attached as Exhibit B and
            28   incorporated by reference.
                                                                    27
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                to count all compliance inspections when computing the denominator to be used in calculating the score
                                                                                                                       '
            2   under Section 6627 1.53(a). Specifically, Hazmat's Dispute Document proved that Hazmat"s score

            3   should be zero (or drastica ll y reduced), based on the fo llowing:

            4           I.     Settlement of the LA Action Prohibited Scoring All Inspections. All of Hazmafs

            5           violations were covered by the settlement agreement in the LA Action and cannot be scored

            6           under the VSP Regulations themse lves (Section 6627 I .54(a)(2)) and other provisions of the law

            7          reflected in cases such as Doran v. North Stale Grocery, Inc. (2006) 137 Ca l.App.4th 484,

            8          Folsom v. Bulle County Assn. ofGovernments ( 1982) 32 Cal.3d 668. 677, Los Angeles County v.

            9          Law Bldg. Corp. ( 1967) 254 Cal .App.2d 848, 853-854, and Gorman v. Holte ( 1985) 164
    "'
   ·5
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   ...J
   ,,;     10          Cal.App.3d 984, because the settlement acts as a merger and bar to claims based on the settled
    •
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    u
           11          allegations. Hazmat also pointed out that in both of the public webinars conducted by DTSC on
    C
    e
   u..
    a 12               October 21.20 19 about the VS P Regulations and their operation. DTSC told the publ ic that
0.. "'
    •
           13          violations reso lved by settlement would not be scored. Importantly. these webinars were held

           14          after DTSC issued its initial set of prov isional inspection violation scores under the VSP

           15          Regulations (20 19) and addressed the requirements fo r filing a Dispute Document challenging

           16          provisiona l scores. DTSC employee Rizgar Ghazi sa id the fo llowing in those webinars:
   -0
    C
    ,:
   v>      17                  • Afternoon: " DTSC did not score violations that have been cancelled by the department
   :::;"
    • 18                       or retracted. or withdrawn successfully to a challenge in adm inistrative or judicial
    0
    00
    ,:
    ~
           19                  proceedings, or through a selllemenl negotiation:'
   6
           20                  • Evening: '·So DTSC did not score any violations that were cance led, retracted.

           21                  withdrawn or successfu lly challenged in an administrative or judicial proceed ing or

           22                  through selllemenl negotiations. Those are the ones that we excluded because of during

           23                  the admin istrative or settl ement process they might have been - there might have been

           24                  some additional in fo1mation that has come to light that was then eval uated as the part of

           25                  the settlement negotiations.'·

           26          11.     Alleged Violations Dismissed from the LA Action Before Settlement Cannot be Scored.

           27           Prior to settling the LA Action, DTSC withdrew a number of violations (146.25 points on the

           28           provisional score) when it dismissed those violations during the course of litigation in the LA
                                                                      28
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                            Action. DTSC dismissed its Fourth and Tenth Causes of Action in the operative Second

                2           Amended Complaint on the eve of trial but before the settlement was consummated. There is no

                3           rational ground to refuse to recognize these violations as having been successfully challenged by

                4           Hazmat and unscorable under the VSP program.

                5           111.    DTSCs Failed to Count all Compliance Inspections. DTSC failed to include all

                6           compliance inspection in its calculation, improperly inflating Hazmat's Faci lity VSP Score. At

                7           least nine inspections were not co unted by DTSC. DTSC fai led to count a March 28. 20 18

                8           inspection reflected in DTSC's own records. and it did not count an August 26. 2009 inspection

                9           for whi ch Hazmat has inexplicably seen no paperwork from DTSC (a lthough Hazmat has
      "'::,
     .3
     v5       10            signatures of the inspectors that did the inspection on its visitor log). DTSC also fa iled to count
     •0
      ~       11            secret inspections, four of which were uncovered during discovery conducted in the LA Action
      e"
       C:

     "--
              12            (on information and belief. DTSC conducted other secret inspections not counted when

              13            calculating its score). 16 DTSC further improperly counted as a single inspection multiple

      "'
      0
              14            inspections wh ich were wrinen up in a si ngle inspection report by DTSC staff. and improperly
     ....l
     • 15                   combined as s ingle inspections di stinct inspections defined as such under DTSC policy
     _g"'
      E
      ::,

f-   8        16            (Financial Records Rev iews and Compliance Eva luation Inspections). Section 66271.50(a)( I)
     •
     -0
      C:
      "
     -;:;     17            defines "compliance inspection·· and that definition must be fo llowed. Whi le an inspection
      >
     u" 18                  mi ght last more than a day, it ·'means an evaluation of a hazardous waste faci lity"s compliance
      •
      C
      00
     ";,! 19                with any operating hazardous waste management requ irements set out"" under the law. The
     6
              20            definition includes both --scheduled and unschedu led inspections:· And DTSC's internal

              21            Inspections Policy (DTSC-OP-0005, January 30, 2009) identifies and li sts seven unique types of

              22     16The secret inspections and ones for which Hazmat has not seen any paperwork were all performed in
                     violation of the law and DTSC's Inspection Policy. DTSC-OP-0005 (dated January 30, 2009). Health
              23     and Safety Code § 25 I 85(c)( I ) requires that an inspector, ··prior to leaving the facility."· deliver ··a
                     written summary of all violations alleged by the inspector.. to the operator. The Inspection Policy
              24     requires delivery to the operator at the end of an inspection a ··Summary of Observations·· if no
                     vio lations are observed, a ··Summary of Violations·· if violations are encountered, or a '· otice of
              ?_)-
                     Violation•· if violations are observed that pose a serious threat to health. safety or the environment.
                     Hazmat was not given any of these documents for the phantom inspections. DTSC's fa il ure to provide
              26     notice of the alleged violations from the phantom inspections denied Haz mat due process of law. as it
                     was denied an opportunity to dispute the alleged violations in accordance with DTSC's Inspections
              27     Policy. wh ich explicitly requires an inspector to include in an inspection report a discussion of an
                     operator' s response to a SOY, and in violation of Hea lth and Safety Code§ 25 I 85(c)(3), which provides
              28     an operator an opportunity to dispute violations identified in an inspection report.
                                                                            29
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                        inspections, 17 yet DTSC ignored these distinctions when issuing VSP inspection violation scores.

            2          The decision to combine multiple inspections as one was not a mi stake. DTSC broadcast its

            3           intent to disregard its policies and the regulatory definition of ·'compliance inspection.. during

            4          the October 2 1, 2019 webinars. DTSCs fa il ure to apply the law as written and failure to follow

            5           its own policies is egregious behavior, and imposes arbitrary and capricious burdens on Hazmat

            6          and others. Hazmat's inspection violation score should have been divided by 16 inspections

            7          when calculating its 20 19 Facility VSP Score, not 7.

            8          IV.       one of the Alleged Violations Scored Bv DTSC Were Class I Violations. The

     .,,    9          definition of a Class I violation in both DTSCs regulations and in its Inspections Policy preclude
    ·::;
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    vi
           10          scoring any of the violations alleged against Hazmat. As noted, on ly Class I violations can be
    •0
    "!,:? 11           included in a Facility VSP Score. Section 66260. 10 defi nes a Class I violation as on .. that
    "eC:
    u.
     C:    12          represents a significant threat to human health or safety or the environment.'· The 2009
     "'
0... "'
    • 13               Inspections Policy requ ired inspectors to leave a '·Notice of Violation·· with an operator before

           14          leavi ng a site every time he/she encountered a situation that --pose[d] a serious threat to health

           15          and safety of the public or environment:· Since DTSC ~ever left an NOV with Hazmat, it

           16          fo llows that none of the conditions observed duri ng the inspections constituted a Class I violation
    •
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     a 17
    .;                 that could be scored under the VSP Regulations. The scoring of these violations years after-the-
     >
    u" 18              fact by DTSC den ied Hazmat due process and violated the law and regulations.
    •0
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    e"     19          V.      Hazmat's Alleged Violations Are Stale. Barred bv the Statute of Limitations. Laches and

           20          Due Process. As disc ussed above, all enforcement actions under the Hazardous Waste Control

           21          Law are subject to, at the latest, a five-year statute of limitations. Further, the Legislature' s

           22          reforms of DTSC set forth in AB I075 and SB 673 requ ired DTSC to use a 5-year look-back

           23          when adopting regulations and implementing programmatic reforms to improve DTSCs

           24          permitting review and processing perfo rmance. making the VSP Regulations invalid as

           25          exceeding the scope of the authoriz ing statutes (not only because of the fi ve-year limitation but

           26          also because they did not authorize permit revocation under the VS P program). Here. al l of the

           27   17
                  DTSC issued a revised inspection policy in 2017 with the same policy number, DTSC-OP-0005. The
                updated policy identifies ten unique types of inspections. It does not appl y to the issues here since al l of
           28   the inspections of Hazmat scored by DTSC took place before this policy was revised.
                                                                    30
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                         violations scored by DTSC occurred more than five years before DTSC issued its 20 19

              2          Provisional Inspections Violations Score. In addition to being barred directly by the statutory

              3          limitations period, scoring these old violations and using them to impose punishment is barred by

              4          the doctrine of Iaches, and to do so would violate Hazmat' s due process ri ghts and the

              5          prohibition on ex post facto laws set forth in both the state and federa l constitutions. as the

              6          consequences of DTSC' s conduct is to impose punishments that are penal in nature.

              7          V I.    Class II Violation Improperly Scored as Class I. DTSC's Dispute Resol ution Officer

              8          (Beckman) agreed with th is objection and elim inated on alleged violation initially scored with 2

     .~::,    9          points from the final inspection score .
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     vi
             10          VI I.     one of the Scored Vi olations Were Class I Violations Because they Did          ot Involve
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      u
             11          Management of Hazardous Waste. To receive a score, a Class I violation must be rated for both
      ,::
      e
     Cl..

      ii 12
                         its "potential for harm·· and ··extent of dev iation from hazardous waste management
0.. en
..J •
      "'     13          requirements."' (Section 6627 1.5 1(a).) If it is not possible to classify an al leged violation using
~ co
      "
     ,:;
-~           14          the regulatory definitions of ··major," ··moderate,"' or "minimar· for either of these factors. then
w
c:::
     "'
      0
     ...J
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:,,I'.::,
     .D
             15          the VSP score necessarily must be zero because the violation cannot be fit into the table matrix
      E
      ::,
f- u0        16          for determining scores set forth in Secti on 66271.5 l(d). Fully half the violations scored by
      •
     "O
      .., 17
      ,::
                         DTSC-eleven violations---cannot be scored at all for the "extent of deviation·· factor because
     .;
      >
     u" 18               they did not involve ·'hazardous waste management'' as defined in Section 66260.10. which
      •
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      co
      r;


     e       19          provides: ·'·hazardous waste management" means the handling. storage. transportation.
      <.)




             20          processin g, treatment, recovery. recycl ing, transfe r and disposal of hazardous waste.'· The

             21          activities fa lling within the scope of this definition are al l hands-on activities, requiring active

             22          human engagement with the waste; they do not cover mere paperwork errors or the other

             23          activities described by DTSC in its 2019 provisional inspection violation score matrix for

             24          Haz mat. 18

             25          VIII.   Improper Score Inflation of Indiv idual Alleged Violations. Each of the twenty-two

             26          alleged violations scored by DTSC was improperly calculated. as DTSC failed to properly apply

             27   18The inspections which do not qualify as Class I violations inc lude two of the three alleged violations
                  from the June 2009 inspections. six of the ten alleged violations from the September 2009 inspection,
             28   and three of the eight alleged violations from the April 20 12 inspection of Hazmat.
                                                                      31
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                     the YS P Regulations, making the errors identified above as well as others such as applying

          2          adj ustment factors and scoring inconsistently. and applying upward adjustment factors for repeat

          3           violations when there were no repeat violations. For example. DTSC designated identical

          4          al leged violations occurring on different days under the "potential for harm'· axis of the scoring

          5          matrix as being both --major.. and "moderate.. or both '"maj or.. and .. minimal.'. The same activity

          6          cannot properly be class ified in different categories merely because they occurred on different

          7          dates. or were observed by different inspectors (or the score ca lcu lated by different DTSC

          8          employees). Hazmat was unaware at the time of fili ng th is Dispute Document that another

   "'
          9          DTSC employee had already scored Hazmat in the Acceptable compliance tier, but this fact
  3      10
                                                                        '
                      fu11her confirms the arb itrary and inconsistent scoring and VS P Regulations .
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   u     11           ix.    Constitutional Concerns. DTSC s enforcement and implementation of the YSP
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   E
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     a 12
0.. (/)
                     Regulations has been incons istent and constitutionally deficient. Hazmat is be ing punished for
  • 13               matters that it settled in the LA Action. Forcing Haz mat to go through the scoring process is

         14          imposing penalties on it and effectuating a taking of its prope11y without due process of law and

         15          in violation of Hazmat's equal protection rights. and the imposition of ex post.facto penalties.

         16                          2.      Final 2019 Score and Hazmat's Compliance Tier Assignment
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  -0
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  u"'> 17            68.     Despite the ninety-day deadline for issuing a Dispute Resolution Officer decision of
  "
  G
  •C 18       Section 6627 1.53(c)(4), DTSC did not fo llow the law and did not rule on this challenge for more than a
   Oil
   "'~ 19     year: Beckman ·s dec ision was dated January 29, 2021. 19 It came out four months after DTSC issued
  6
         20   Hazmaf s 2020 prov isional violation score. and two months after Hazmat submitted its Dispute

         21   Document challenging the 2020 prov isional score. As a resu lt, Hazmat was subjected to an unfair,

         22   arbitrary and capricious process whereby it has been forced to spend money and fil e serial challenges to

         23   the same DTSC errors to preserve its appeal ri ghts, which it did as discussed below.

         24          69.     As for the substance of the rul ing, Beckman fa iled to address al l of Hazmafs arguments

         25   and, for those he did. was arbitrary. capricious. and failed to properly apply the law or the facts to the

         26   issues. For examp le. he did not address the fact that the same activity rece ived di fferent scores due to it

         27
              19A true and correct copy of the Beckman 's dec ision as Dispute Resolution Officer fo r 2019 is attached
         28   as Exhibit C.
                                                                  32
                                              VERIFIED PETITIO     FOR WRIT OF MANDATE
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                      being classified differently for --potential for harn1·' based on it occurring on different dates or being

                  2   observed or scored by different DTSC employees, nor did he address Hazmafs constitutional arguments

                  3   or its challenges to the va lidity of the VSP Regulations, asserting arbitraril y and incorrectly that they

                  4   were beyond the scope of authority of a Dispute Reso lution Officer and that a Dispute Document is not

                  5   the appropriate method by which to challenge the YSP Regulations. The responses to the ten categories

                  6   identified above can be summarized as fo llows:

                  7           I.      Settlement of the LA Action Prohibited Scoring All Inspections. The Dispute Resolution

                  8          Officer argued that the unproven violations are subject to scoring because they were not

                  9          --specifically cancelled, retracted, withdrawn or successfully challenged in an administrative or
         "'::i
        .3
        .;;      10          judicial proceed ing.'· He further argued that the settlement does not mean that the alleged
         •0
         ;,:     II           violations d id not occur. and argued that the vio lation scoring procedure and punishments
         0
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         e
         a 12
        "--                   imposed under it do not count as an "enforcement action·· or reopening of resolved disputes.
0.. "'
         • 13                And the Dispute Reso lution Official does not acknowledge or address the fact that findings from
....J    "'
         "
        -;;
~        Oil
- < 14   C:

                              inspections are merel y al legations of the existence of a violation. as made clear by Health and
w
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     "'
        . 15
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        ..J

         "'
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        .0
                             Safety Code§ 25 185 and DTSC's Inspections Po licy. ,
         E
f- iu 16                     11.     A lleged Vio lations Dismissed from the LA Action Before Settlement Cannot be Scored.
    •   -:::,
         a 17
        ,:;                   Remarkably. the Dispute Reso lution Officer argued that dismissal of causes of action durin g the
         >
        "
        G
         •0 18               course of a civi l enforcement action prior to settlement of that litigation does not constitute a
         Oil

        "<.>

        6 19                  resc ission of the alleged violation.

                 20          111.     DTSC's Failed to Count all Compliance Inspections. The Dispute Resolution Officer

                 21          argued: that DTSC's letter stating that it was able to inspect some but not all parts of Hazmat's

                 22           faci lity did not establish that a compliance inspection took place that had to be co unted fo r VSP

                 23          scoring: that the failure of DTSC employees to keep or maintain records of an inspection in

                 24           violation of DTSC Inspections Policy means that no inspection took place, because they may

                 25           have been at Hazmat but not inspecting it: that sampl ing on site at Hazmat by DTSC employees

                 26           may not have been for the purpose of evaluating Hazmat's co mpliance and therefore do not

                 27          constitute inspections for purposes of YSP scoring; that Financial Rev iew Records inspections

                 28          are not compliance inspections for purposes of vio lation scoring when combined w ith other types
                                                                            33
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                   of inspections, notwithstanding DTSC Inspections Policy defining them as separate inspections;

           2       that multiple inspections written up in a single report count as a single inspection despite the

           3       definition of compliance inspection in the regu lations and non-compliance with DTSC s

           4        Inspections Policy in providing written documentation to Hazmat fo llowing the on-site

           5       inspections, and that the two-yea r delay in preparing a report means it was ··extremely delayed··

           6       but is not indicati ve of multiple inspections; that DTSC's failure to provide timely post-

           7       inspection documentation (both at the end of the inspection and in post-inspection reports) and

           8       any negative impact that may have had on Hazmaf s abi li ty to respond to the alleged violations is

           9       beyond the scope of the Dispute Resolution Officer· s task.
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   cii
          10       IV.        one of the Alleged Violations Scored Bv DTSC Were Class I Violations. The Dispute
    •0
    ~
    <.>
          II       Reso lution Officer argued that, while the definiti on of Class I violation in Section 66260. 10
    C
    e
   "-
    C     12       requi res a dev iation from legal requirements ··that represents a significant threat to human health
    "
0.. "'
    • 13           or safety or the environment: · there is no requirement that a deficiency ··pose a serious threat to

          14       the health and safety of the public or the environment'" to be classified as a Class I violation.

          15       V.        Hazmat's Alleged Violations Are Sta le. Barred bv the Statute of Limitations. Laches and

          16       Due Process. The Di spute Resolution Officer argued that the Di spute Document is not the
   "O
    C
    "
   o:;    17       appropriate method by whi ch to cha!lenge the VSP Regulations and beyond the scope of the
    >
   "
   Ci
    • 18           Di spute Reso lution Official" s review. He also argues that the VSP Regulations were adopted,
    0
    oJ)

    " 19
    \!
                   and that the score itself is not punitive and that there is a possibility that the compli ance tier
   a
          20       would not be " Unacceptable·· despite his dec ision and. in any event, Hazmat can challenge an

          21       Unacceptable assignment through other procedures.

          22       V I.      Class II Violation Improperly Scored as Class I. The Dispute Resolution Officer agreed

          23       with Hazmat on this and eliminated on alleged violation initially scored with 2 points from the

          24       final inspection score.

          25       Vil.       one of the Scored Violations Were Class I Violations Because they Did Not In volve

          26       Management of Hazardous Waste. The Dispute Resolution Officer argued that recordkeeping

          27       and paperwork are hazardous waste management activities.

          28       V ll l.   Improper Score Inflation of Individual Alleged Violations. The Di spute Resolution
                                                                  34
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                        Officer addressed each of the twenty-two individual inspections that were scored. He repeated

             2          the arguments above as they applied to each one. and deleted one alleged vio lation for not

             3          constituting a Class I violation and reduced another by finding DTSC had not established prior

             4          violations to justify an upward adj ustment for a repeat vio lation.

             5          IX.     Constitutional Concerns. The Dispute Resolution Officer argued that the VSP

             6          Regulations were adopted under the Admin istrative Procedures Act and that clai ms against and

             7          challenges to the regulations were beyond the scope of his review and that the Dispute Document

             8          was not the appropriate method by which to cha!lenge the VSP Regulations.

     "'
             9   Hazmat's Final Facility VSP Score was reduced by 1.54 points by Dispute Resolution Offi cer Beckman,
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            IO   from 63.75 to 62.2 1, but Hazmat remained in the Unacceptable compliance tier.
     •
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            11          70.     On February 5. 202 1. respondent/defendant Soria issued Hazmat's 2019 Final Inspection
     C
     e
    "-
     C      12   Violation Score and compliance tier assignment. Hazmat was given a fin al Facility VS P Score of 62.21
     "
0.. er.
     • 13 and. as dictated by Section 6627 1.54(6). it was notified that it was assigned to the Unacceptable

     ~
            14   compliance tier.20
    ...J

            15                  B.     Hazmat's 2020 VSP Score (20 10 - 2019)

            16                          1.     Provisional 2020 Score and Hazmat's Dispute Document.
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     C

    u",..   17          7 1.    On September 30. 2020. DTSC issued to Hazmat its 2020 provisional inspection
    v" 18 violation score and matrix listing the inspections and alleged violations counted in the scoring. 21 They
     •
     0

     "°"
      <.>
          19     covered the ten-year period 20 IO through 20 19. DTSC gave Hazmat a provisional Facility VS P Score
    6
            20   of 37.20. which would place it in the ··Conditionally Acceptable'· compliance tier. The score was

            2 1 purportedly based on five inspections occurring, according to DTSC. on the dates and given the

            22   provisional violation inspection scores listed below:

                                I.     4/9/12 FUI (8 alleged violations; prov isional score of 178.50)

            24                  II .   6/24/1 4 Cl (no violations)

            25                  111.    7/2/ 14 CEI and 8/20/ 14 FRR ( I alleged violation. prov isionally scored 7.5)

            26
                 20 A true and correct copy of the February 5, 202 1 letter from Defendant Soria is attached as Exhibit D.
            27
                 21 A true and correct copy of Hazmat' s 2020 Provisional Inspection Violation Scori ng Notice and Matrix
            28   is attached as Exhibit E.
                                                                      35
                                                VERIFIED PETIT IO    FOR WRIT OF MANDATE
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                           1v.     4/6/ 18 FRR (no violations)

        2                  V.      6/ 18/ 19 CEI and 6/26/10 FRR (no violations)

        3   In other words, the 2009 inspections fell off matrix as they were outside this ten-year period, with DTSC

        4   adding inspections from 20 19 for a comp lete ten year time frame. Wh ile the 20 19 inspections resulted

        5   in Hazmat not being assessed any numerical score since no violations were observed during those

        6   inspections, DTSC again improperly combined inspections in a manner that falsely inflated Hazmat's

        7   Facil ity YSP Score.

        8          72.     On November 24. 2020, Hazmat submitted its Dispute Document chal lenging the 2020

        9   prov isional inspection violation scores. 22 Since (i) by the time Hazmat had to fi le its challenge to the
 "'g
..J

ci'i
       10   2020 prov is ional score no DTSC Dispute Resolution Official had issued a dec ision on Hazmafs 20 19
•0
 ~
 u
       11   Dispute Document, and (ii) the on ly alleged violations that were given a numerical score on the 2020
 C:
 E
L:..
 §     12   provisional score were inspections that were discussed in the 20 19 Dispute Document. Hazmat
"'
       13   subm itted a Dispute Document that attached and incorporated its pending 2019 Dispute Document. As

       14   noted, in violation of the YSP Regulations, DTSC fa iled to respond to Hazmat's 2020 Dispute

       15   Document until after it issued Hazmat's Final Facility YSP Score and compliance tier assignment.

       16          73.     On February 5, 202 1, defendant/respondent Soria issued DTSC's final determination for
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 C:
"u
       17   2020 on Hazmat's Facility VSP Score and compl iance tier assignment. scoring it with 36.45 po ints and
 ,.,
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G
• 18        plac ing it in the compliance tier of Cond itionally Acceptable. 23 The issuance of these final
 0
 Ol)
 "'
::!
            determinations was improper, arbitrary and illegal. as they were issued prematurely and prior to any
6 19
       20   decision by a Dispute Reso lution Officer.

       21          74.     On March 5, 202 1, defendant/respondent LaBelle issued DTSC's 2020 Dispute

       22   Resolution Officer· s decision. 2-1 He did not independently consider any arguments or facts offered by

       23   Hazmat, asserting only that ·'the inspections at issue in the Dispute Document are already fi nal pursuant

       24   to the Provisional Inspection Violation Score Dispute Document Decision HAZMA T TSDF.

       25
            22 A true and correct copy of Hazmat's Dispute Document for the 2020 VSP Score is attached as
       26
            Exhibit F.
            23 A true and correct copy of Soria·s February 5. 2021 Final Faci lity YS P Score and Compliance Tier
       27
            ass ignment letter is attached as Exhibit G.
       28   24 A true and correct copy of LaBelle's March 5, 202 1 letter is attached as Exhibit H.

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                                            VERIFIED PETIT IO    FOR WRIT OF MA DATE
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               CAD98244448 I. dated January 29, 202 1 and not subject to dispute and therefore it is not subject to

           2   additional administrative dispute reso lution."

           3             75.    On March 8, 202 1, defendant/respondent Soria issued a second letter purporting to notify

           4   Hazmat of DTSCs 2020 decision, but the letter was virtually identical to the letter issued by Soria on

           5   February 5: 202 1- the only di fference was Soria correcting the date of HazmaCs 2020 Dispute

           6   Document in the second-to-last sentence of the 3rd full paragraph of the letter, changing December 20.

           7   20 19 to correctly reflect Hazmat's submission of its Dispute Document on          ovember 24. 2020. 25

           8             76.    This determination for 2020 is mistaken fo r a number of reasons. First, each of the

    .,,    9   scored alleged violations and the Facil ity VSP Score carried over each of the mistakes set forth above
   .3     10   concerning Hazmat's 2019 score. Second, the adjustments made by the Di spute Reso luti on Officer that
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          11   ru led on the 2019 challenge were not carried through by DTSC on the 2020 cha llenge, resulting in an
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    ,:    12   improper 2020 Faci lity YSP Score. Third. DTSC fa iled to properly apply the ten-year lookback under
    "
c.. "'
    • 13 the VSP Regu lations. such that some violations were scored as repeat violations even though there was

          14   no identical prior violation.

          15            77.     Hazmat has no plain, speedy, and adequate legal remedy in the ordinary course of law to

     16        challenge DTSCs rulings, including that of the Dispute Reso lution Officer regarding the 2019 and 2020
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   u 17        Facility VSP Scores, and the associated automatic compliance tier assignments of ·'Unacceptable.. and
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    • 18       "Conditiona lly Acceptable.'' respective ly, other than the relief sought in thi s petition .
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    "u 19                                                 CAUSES OF ACTION
   6
          20                                   First Cause of Action for Writ of Mandate

          21        (Traditional and, alternatively, Administrative Mandate Against DTSC, Beckman and DOES 1

          22                   through 5 - January 29, 2021 Dispute Resolution Officer Ruling re 2019)

          23             78.    Petitioner incorporates by reference Paragraphs I through 77, as though full y set forth

          24   below.

          25             79.    DTSC, Beckman and DOES I through 5 proceeded without, or in excess of. j urisdiction,

          26   and committed a prejudicial abuse of discretion, with the issuance of the Dispute Resolution Officer's

          27
               25A true and correct copy of Soria's March 8, 202 1 Final Facility YSP Score and Compliance Tier
          28   assignment letter is attached as Exhibit I.
                                                                  37
                                                VERJFI ED PETITION FOR WRIT OF M A DATE
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                   ru ling on Hazmat's 2019 Dispute Document. which automatically placed Hazmat's fac ility into the

              2    "Unacceptable·· compliance tier designation. See Cal. Code Civ . Proc. § I094.5(b). DTSC proceeded

              3    without and in excess o f it jurisd iction and prejudiciall y abused its discretion. They also have failed to

             4     act in a manner required by law, leaving Hazmat with no adequate legal remedy. See Cal. Code Civ.

              5    Proc. § I 085.

              6           80.       The Dispute Resolution Officer· s final ruling blessed the inclusion and scoring of alleged

              7    violations at issue in the LA Action that were dismissed and/or settled before trial with no admission of

              8    liabil ity, wh ich both deprived Hazmat of the benefit of its settlement agreement, at substantial cost to

             9     Hazmat, and improperly converted the alleged violations settled in that case into scorable final
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           10      violations for VSP purposes, contrary to the agency"s burden to prove the existence of a violation.
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           11             81.       The Dispute Resolution Officer·s final ru ling defied statutory limitations by allowing
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    Le..
     C     12      DTSC to score time-barred and stale al leged violations from beyond the fi ve-year statute of limitations
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    • 13           period. and in contravention of the legislative directives authoriz ing the VSP Regulations.

           14             82.       The Dispute Resolution Officer·s final ruling defied statutory limitations by allowing

           15      DTSC to score sta le alleged vio lations from beyond the fi ve-year period authorized by the Legislature

           16      when it directed DTSC to adopt regulations to impl ement programmatic reforms.
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    .:;    17             83.       The Dispute Resolution Officer·s final ruling defied statutory and regulatory limitations
     >
    u" 18 by inc luding and scoring violations that were never proven and were only alleged by DTSC. including
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     DO
     "u 19
    ..2            application of upward score adjustments for alleged repeat violations .
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           20             84.       The Dispute Resolution Officer"s final ru ling defied statutory and regulatory limitations

           21      by including and scoring alleged violations that did not qualify as Class I vio lations.

           22             85.       The Di spute Resolution Officer· s final ru ling erroneously combined and/or discarded
           '),.,
           _ .)    additional no-violation compli ance inspections from the scoring process, which would have improved

           24      Hazmat"s 2019 Fina l Facility VSP Score and automatic tier classification for 20 19.

           25             86.       The Dispute Resolution Officer·s final ruling summaril y rej ected Hazmat" s constitutional

           26      challenges to DTSC's application of the VSP regulations to it, resulting in the denial of due process. As

           27      alleged herein, these defects include but are not limited to improper and inconsistent application of

           28      subjective regulations for scoring the so-called --extent of deviation·· and "potential fo r harm .. for alleged
                                                                         38
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           violations. and the improper scoring of alleged viola!ions fo r which Hazmat was denied a fair

       2   opportunity to challenge due to delayed notice to Hazmat of DTSC-s allegations resulting from DTSC's

       3   fa ilure to provide requ ired post-inspection documentation (or untimely provision of that documentation).
       4              87.   The substantial delay in the Dispute Resolution Officer·s final ruling precluded

       S   meaningful rev iew by Hazmat and an oppo11unity to redress alleged violations fo r the subsequent year·s

       6   2020 VSP score. which placed Hazmat in the ··Conditionally Acceptable .. compliance tier.
       7              88.   As a result of the eIToneous, arbitrary. and vind ictive application of the VSP Regulations
       8   to Hazmat, and the lack o f timely and meaningful administrative review. Hazmat has been den ied

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       9   prope11y interests without due process, suffered regulatory takings without j ust compensation, and
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,,; I 0    subjected to impro per ex post facto laws .
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 ~ 11                                      econd Ca use of Action for Writ of Mandate
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      12       (Traditional a nd, alternatively, Ad ministrative Mandate Against DTSC, Soria and DOES 1
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      13                       throug h 5 - February 5, 2021 Final Facility VSP Score re 2019)

  "' 14               89.   Petiti oner incorporates by reference Paragraphs I through 88. as though full y set forth
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~     16              90.   DTSC. Soria and DOES I through S proceeded without. or in excess of, jurisdiction, and
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~     17   commi tted a prejudicial abuse of discretion. with the issuance of Hazmafs 2019 Facility VSP Score,
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~ 18       which automatical ly placed Hazmafs faci lity in to the ··Unacceptable .. compliance tier designation. See
al,
c5"' 19    Cal. Code Civ. P. § I 094.S(b). They also have fa iled to act in a manner requ ired by law. leav ing Hazmat

      20   with no adequate legal remedy. See Cal. Code Civ. Proc. § I 085.

      21              91.   The 20 19 Facility VSP Score improperl y included alleged violations from the LA Action

      22   that were dism issed and/or settled before trial and with no admission of liability, which both deprived

      23   Hazmat of the benefit of its settlement agreement. at substantial cost to Hazmat. and improperly

      24   converted the all eged vio lations settled in that case into scorable violations for VS P purposes, contrary

           the agency's burden to prove the existence of a violation.

      26              92.   The 20 19 Facility VSP Score defi ed statutory limitations by allowing DTSC to score

      27   time-barred and stale alleged violations from beyond the five-year statute of limitations period. and in

      28   contravention of the legislative directives authorizing the VSP Regulations.
                                                                 39
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                       93.     The 20 19 Facility VS P Score defied statutory limitations by allowing DTSC to score

           2   stale alleged violations from beyond the five-year period authorized by the Legislature when it directed

           3   DTSC to adopt regulations to implement programmatic reforms.

           4           94.     The 20 19 Facility VSP Score defied statutory and regu latory limitations by inc luding and

           5   scoring violations that were never proven and were only alleged by DTSC. including application of

           6   upward score adj ustments for alleged repeat violations.

           7           95.     The 2019 Facility VSP Score defied statutory and regulatory limitations by including and

           8   scoring al leged violation s that did not qualify as Class I violations.

    .,,    9           96.     The 20 19 Facility VSP Score erroneous ly combined and/or discarded additional no-
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          10   violation compliance inspections from the scoring process. which would have improved Hazmat's
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         11    Facility VSP Score and automatic tier classification for 2019.
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    C                  97.     The 20 19 Faci lity VSP Score deprived Hazmat of due process of law as alleged herein by
0.. "'
    • 13       setting arbitrary scores using defective vague regulatory definitions for scoring the so-called ··extent of

          14   deviation.. and :'potential fo r harm·· for alleged violations, the improper scoring of alleged violations for

          15   which Hazmat was denied a fa ir opportunity to challenge due to delayed notice to Hazmat of DTSC's

          16   allegations resulting from DTSCs fa ilure to provide required post-inspection documentation (or
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   .;     17   untimely provision of that documentation), and by failing to account for Hazmaf s other constitutional
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    •g, 18     challenges to the application of the VSP Regulations to it.
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          19           98.     The substantial delay in issuing Hazmaf s 20 19 Facility VSP Score precluded meaningfu l
   6
          20   rev iew by Hazmat and an opportunity to redress al leged violations for the subsequent year· s 2020 VSP

          21   Score. which placed Hazmat in the ··Conditionally Acceptable·· compliance tier.

          22           99.     As a result of the erroneous, arbitrary. and vindictive application of the VSP Regulations

          23   to Hazmat, and the lack of timely and meaningful administrative review, Hazmat has been denied

          24   property interests without due process, suffered regulatory takings wi thout just compensation, and

          25   subjected to improper ex post f acto laws.

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                                                  Third Cause of Action for Writ of Mandate

               2       (Traditional and , alternatively, Administrative Mandate Against DTSC, Soria and DOES 1

               3                     through 5 - February 5, 2021 Compliance Tier Assignment re 2019)

               4            I 00.   Petitioner incorporates by reference Paragraphs I through 99. as though fu lly set forth

               5   below.

               6            IO I.   DTSC. Soria and DOES I through 5 proceeded without. or in excess of, j urisdiction, and

               7   committed a prejudicial abuse of discretion. by assigning Hazmat to the ··u nacceptable .. compliance tier

               8   fo r the 20 19 YS P program review. See Cal. Code Civ. Proc. § I 094.5(b). They also have fai led to act in

               9   a manner required by law, leaving Hazmat with no adeq uate legal remedy. See Cal. Code Civ. Proc.§
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              10   1085.
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       ~      11            I 02.   The --unacceptable'" compliance tier designation rested upon a Facility YSP Score that
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       C      12   illegally included scores based on unproven alleged violations at issue in the LA Action that were
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      •"' 13 dismissed and/or settled before trial with no admission of liability. which both deprived Hazmat of the
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                   benefit of its settlement agreement, at substantial cost to Hazmat. and improperly converted the alleged

              15   violations settled in that case into scorable final violations for YSP purposes, contrary the agency' s

              16   burden to prove the ex istence of a violation .
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      o:;     17            I 03.   The ··unacceptable'" compliance tier designation, by resting on a flawed Facility VS P
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      • 18         Score. defied statutory limi tations by allowing DTSC to score time-barred and stale alleged violations
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              19   from beyond the fi ve-year statute of limitations period. and in contravention of the legislative directives
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              20   authorizing the YSP Regulations.

              21            I 04.   The '·Unacceptable·· compliance tier designation, by resting on a flawed Facility YSP

              22   Score. defied statutory limitations by allowing DTSC to score stale alleged violations from beyond the

              23   five-year period authorized by the Legislature when it directed DTSC to adopt regu lations to implement

              24   programmatic reforms.

              25            I 05.   The ··unacceptable" compliance tier designation. by resting on a fl awed YSP score.

              26   defied statutory and regulatory limitations by including and scoring violations that were never proven

              27   and were only alleged by DTSC, includi ng application of upward score adjustments for alleged repeat

              28   violations.
                                                                         41
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                            I 06.   The ··U nacceptable·· compliance tier designation. by resting on a flawed YS P score.

              2    defied statutory and regulatory limitations by including and scoring alleged violations that did not

              3    quali fy as Class I vio lations.

              4             I 07.   The " Unacceptable .. com pliance tier designation, by resting on a fl awed YSP score,

              5    erroneously combined and/or discarded add itional no-violation compliance inspections from the scoring

              6    process. w hich would have improved Hazmafs 20 19 Final Facility VSP Score and automatic tier

              7    classification for 20 19.

              8             I 08.   The ··unacceptable"' compliance tier designation. by resting on a fl awed YSP score that

              9    fa iled to account fo r Hazmat's constitutional chal lenges as alleged herein, denied Hazmat due process of
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       v;    I0    law .
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                            I 09.   The ··Unacceptable'" compliance tier designation deprives Hazmat of its due process and
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       ,,    12    other rights by req uiring Hazmat to implement punishments merely to exercise the right to mount an
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       ,, I 3      admini strative challenge to that compliance tier assignment. vio lations which are compounded by the
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             15    must be completed before, and documentation refl ecting the completi on of these costly activities
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f-     8     16    included with, an administrative challenge to the compl iance tier designation. 26
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             I7             110.    As a result of the erroneous, arbitrary, and vind ictive appl ication of the YSP Regulations
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       i?    18 _to Hazmat. and the lack of timely and meaningful administrative review. Hazmat has been denied
       g,
       1u"   19    property interests without due process, suffered regulatory taki~gs without just compensation, and

             20    subjected to improper ex post facto laws.

             21                                       Fourth Ca use of Action for Writ of Mandate

             22         (Traditional and, alternatively, Administrative Mandate Against DTSC, Soria and DOES 6

             23                                       through 10 - 2020 Final Facility VSP Score)

             24             111 .   Petitioner incorporates by reference Paragraphs I through 77. as tho ugh full y set forth

             25    below.

             26             11 2.   DTSC, Soria and DOES 6 through IO proceeded without. or in excess of, jurisdictio n,

             27
                   26On information and belief, it will cost Hazmat more than $ 15,000 j ust to complete one of the YSP
             28    audits. Implementing the corrective actions dictated by the auditor wi ll cost even more.
                                                                      42
                                                       VERIFIED PETIT IO   FOR WRIT OF MA DATE
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                  committed a prejudicial abuse of discretion. and denied Hazmat a fa ir hearing. with the issuance of

              2   Hazmat" s 2020 Facility VSP Score, which automatically placed Hazmat' s fac ility into the

              3   ·'Conditionally Acceptable.. compliance tier designation. See Cal. Code Civ. Proc. § 1094.S(b). They

              4   also have fa iled to act in a manner required by law. leaving Hazmat with no adequate legal remedy. See

              5   Cal. Code Civ. Proc. § I 085.

              6           11 3.   Haz mat's 2020 Facil ity VSP Score was illegally and prematurely issued by DTSC. Soria

              7   and DOES 6 through I 0. prior to any ruli ng by a Dispute Resolution Officer on Hazmat" s 2020 Dispute

              8   Document. The issuance of the March 8. 202 1 Soria letter that corrected the date on which Hazmat

      .:!!
              9   submitted its 2020 Dispute Document, though issued after the Dispute Reso lution Officer's decision,
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             10   does not correct the fa il ings inherent in the score having initially been issued on February 5. 202 1.
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             11   Hazmat already had been issued its fina l score and compliance tier assignment before the Di spute
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             12   Resolution Officer· s dec ision. and there was no correction of any of errors in the February 5 ruling.
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      • 13                114.    Hazmat's 2020 Facil ity YSP Score improperly included alleged violations fro m the LA

             14   Action that were dismissed and/or settled before trial and with no admission of liabi lity, which both

             15   deprived Hazmat of the benefit of its settlement agreement, at substantial cost to Hazmat, and

             16   improperly converted the alleged violations settled in that case into scorable violations for YSP
      "O
       a 17 purposes, contrary the agency's burden to prove the existence of a violation.
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      Ci                  115.    The 2020 Facility YSP Score de fied statutory limitations by allowing DTSC to score
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                  time-barred and sta le alleged violations from beyond the fi ve-year statute of limitations period, and in
      6      19

             20   contravention of the legislative directives authorizing the VSP Regulations.

             21           11 6.   The 2020 Facility VSP Score defi ed statutory limitations by allowing DTSC to score

             22   stale alleged violations from beyond the five-year period authorized by the Legislature when it directed

             23   DTSC to adopt regulations to implement programmatic reforms.

             24           117.    The 2020 Facility YSP Score defi ed statutory and regulatory limitations by including and

             25   scoring violations that were never proven and were only alleged by DTSC. including application of

             26   upward score adj ustments for alleged repeat violations. Further, Hazmafs 2020 Facility YSP Score

             27   included upwards adjustments for alleged repeat violations based on unproven alleged violations dating

             28   back longer than the ten-year look-back allowed under the YSP Regulations.
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                              118.    The 2020 Facility YSP Score defied statutory and regulatory limitations by inc luding and

                  2   scoring alleged violations that did not quali fy as Class I violations.

                  3           119.    The 2020 Facility YSP Score erroneously combined and/or discarded add itional no-

                  4   violation compliance inspections from the scoring process. which would have improved Hazmafs

                  5   Facility YSP Score and automatic tier class ificati on for 2020.

                  6           120.    The 2020 Facility YSP Score failed to account for rulings made in Hazmafs favor by the

                  7   20 19 Dispute Resolution Officer. The substantial delay in issuing Hazmaf s 20 19 Fac ility YSP Score

                  8   precluded meaningful review by Hazmat and an opportun ity to point out favorable rulings when it fi led

                  9   its 2020 Dispute Document, and den ied it the opportunity to redress alleged vio lations for the 2020
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         r:;;    10   Facility YS P Score. Despite the absence of any applicable statutory or regulatory authority. DTSC
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                 11   notified the public that facility owner/operators had to challenge the score for an individua l alleged
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         "--     12   violation at the first opportunity or waive the right to challenge the score. yet DTSC is fo llowing a
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         • 13 different set of rules fo r itself and arbitrari ly scoring the same event differently duri ng different years of

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         ....l

c.:..:   !       15           12 1.   The 2020 Facility YS P Score deprived Hazmat of due process of law as alleged herein by
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f- 8             16   setting arbitrary scores using defective vague regulatory de fi nitions for scoring the so-called --extent of
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                 17   dev iation.. and --potential for harm.. for alleged violations, the improper scoring of alleged violations for
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         ?       18   which Hazmat was denied a fair opportun ity to challenge due to delayed notice to Hazmat of DTSC s
          g,
          "
         6"      19   allegations resulting from DTSCs fail ure to provide required post-inspection documentation (or

                 20   untimely provision of that documentation), and by fail ing to account for Hazmafs other constitutional

                 21   challenges to the application of the YSP Regulations to it.

                 22           122.    As a result of the erroneous, arbitrary. and vindictive application of the YSP Regulations

                 23   to Hazmat, and the lack of timely and meaningful adm inistrative rev iew, Hazmat has been den ied

                 24   property interests without due process. suffered regulatory takings without just compensation, and

                 25   subjected to improper ex post facto laws.

                 26
                 27

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                                                Fifth Ca use of Actio n for Writ of Mandate

           2        (Traditional and, alte rnatively, Administrative Mandate Against DTSC, Soria and DOES 6

           3                                through 10 - 2020 Compliance Tier Assignment)

           4              123.   Petitioner incorporates by reference Paragraphs I through 77 and I I I through 122, as

           5   though full y set forth below.

           6              124.   DTSC, Soria and DOES 6 through IO proceeded without. or in excess of, j urisdiction,

           7   and committed a prejudicial abuse of discretion, by assigning Hazmat to the ··Conditionally Acceptable"

           8   compliance tier for the 2020 VSP program review. See Ca l. Code Civ. Proc. § I 094.5(b). They also

    .,,    9   have fail ed to act in a manner required by law. leaving Hazmat with no adequate legal remedy. See Cal.
    g
   ..J    10   Code Civ. Proc. § I085.
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    ~     11              125.   Hazmat's 2020 compliance tier assignment was illegally and prematurely issued by
    u
    C
    E
   ';;,, 12    DTSC, Soria and DOES 6 through I 0. prior to any ruling by a Dispute Resolution Officer on Hazmaf s
c.. "'
    •          2020 Dispute Document. The issuance of the March 8. 202 1 Soria letter that corrected the date on

               which Hazmat submitted its 2020 Di spute Document, though issued after the Dispute Reso lution

          15   Officer' s decision, does not correct the fa ilings inherent in the score hav ing in itially been issued on

          16   February 5, 202 1. Hazmat already had been issued its final score and compliance tier assignment before

               the Dispute Reso lution Officer· s dec ision, and there was no correction of any of errors in the February 5

               ru ling.

                          126.   The ··Conditionally Acceptable" compliance tier designation rested upon a Fac ility YSP

          20   Score that illegal ly included scores based on unproven alleged violations at issue in the LA Action that

          21   were dismissed and/or settled be fore trial with no admission of liabil ity, which both deprived Hazmat of

          22   the benefit of its settlement agreement, at substantial cost to Hazmat, and improperly converted the

          23   alleged violati ons settled in that case into scorable final violations for VSP purposes, contrary the

          24   agency" s burden to prove the ex istence of a violation.

          25              127.   The '·Conditionally Acceptable" compliance tier designation. by resting on a flawed

          26   Facility YSP Score. defied statutory limitations by allowing DTSC to score time-barred and stale alleged

          27   violations from beyond the fi ve-year statute of li mitations period, and in contravention of the legislative

          28   directives authoriz ing the YSP Regulations.
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                          128.      The "Conditionally Acceptable" compl iance tier designation, by resting on a fl awed

              2   Faci lity VSP Score, defi ed statutory limitations by allowing DTSC to score sta le alleged violations from

              3   beyond the fi ve-year period authorized by the Legislature when it directed DTSC to adopt regulations to

              4   implement programmatic reforms.

              5           129.      The ·'Conditionally Acceptabl e" com pliance tier designation, by resting on a flawed YSP

              6   score, defi ed statutory and regulatory limitati ons by including and scoring violations that were never

              7   proven and were only alleged by DTSC, including application of upward score adjustments for alleged

              8   repeat violations. Further, Hazmaf s 2020 Facility YS P Score (and hence compliance tier assignment)

              9   included upwards adjustments for alleged repeat violations based on unproven alleged violations dating
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             10   back longer than the ten-year look-back allowed under the VSP Regulations.
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             1I           130.      The ·'Conditionally Acceptable'· compliance tier designation, by resting on a fl awed YSP
       C:
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      t,..
       C:    12   score, defi ed statutory and regulatory limitations by including and scoring alleged violations that did not
c..   "
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      •
             13   qualify as Class I violations.

             14           13 1.     The ··Conditi onally Acceptable .. compliance tier designation, by resting on a flawed YSP

             15   score, erroneously combined and/or discarded additional no-v iolation compliance inspections from the

             16   scoring process, which would have improved Hazmat"s 2020 Final Fac ility VSP Score and automatic
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             17   tier classification for 2020.
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      ~ 18                132.      The "Conditi onally Acceptable'' compliance tier designation. by resting on a flawed YSP
      g,
      "u 19       score that fa iled to account for Hazmat's constitutional challenges as alleged herein, denied Hazmat due
      6
             20   process of law.

             21           133.      The 2020 Facil ity VSP Score fa iled to account for ru lings made in Hazmat's favor by the

             22   2019 Dispute Resolution Office r. The substantial delay in issuing Hazmat" s 20 19 Facility YS P Score

             23   precluded meaningful rev iew by Hazmat and an opportunity to point out favorable rul ings when it fi led

             24   its 2020 Dispute Document, and denied it the opportunity to redress alleged violations for the 2020

             25   Facility YSP Score. Despite the absence of any appl icable statutory or regu latory authority. DTSC

             26   notified the publi c that fac ility owner/operators had to challenge the score fo r an individual alleged

             27   violation at the first o pportunity or waive the right to challenge the score. yet DTSC is fo llowing a

             28   different set of rules for itself and arbitrarily scoring the same event differently during different years of
                                                                        46
                                                   VE RJ FIED PETITIO   FOR WRIT OF MANDATE
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                  review.

              2             134.    The 2020 Facility YSP Score deprived Hazmat bf due process of law as alleged herein by

              3   setting arbitrary scores using defective vague regu latory defin itions for scoring the so-called --extent of

              4   deviation .. and "potenti al for harm·• fo r alleged violations, the improper scoring of alleged violations for

              5   which Hazmat was denied a fai r opportun ity to challenge due to delayed notice to Hazmat of DTSC-s

              6   allegations resulting from DTSC-s fa ilure to provide required post-inspection documentation (or

              7   untimely provision of that documentation), and by fai ling to account for Hazmat's other constitutiona l

              8   challenges to the application of the YS P Regulations to it.

       "'
              9             135.    As a result of the erroneous, arbitrary, and vind ictive appli cation of the YSP Regu lations
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             10   to Hazmat. and the lack o f timely and meaningful administrative review, Hazmat has been denied
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      ~ 11
      u
                  property interests without due process, suffered regu latory takings without j ust compensation. and
       C:
       e
      ~      12   subjected to im proper ex post facto laws.
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      V,

      •
             13                                                S ixth Cause of Action

             14     (Traditional and, alternatively, Administrative Mandate Against DTSC, LaBelle and DOES 6
r,    i
      .0
             15                    through 10 - March 5, 2021 Dispute Resolution Officer Decision re 2020)
       §
r- 8 16                     136.    Petitioner incorporates by reference Paragraphs I through 77 and I I I through 135, as
   •
      "" 17
      ~           though fully set forth below.
       ;>


      ?" 18                 137.    DTSC. LaBelle and DOES 6 through IO proceeded without. or in excess of. jurisdiction.
       g,
      a 19
       "'         and committed a prejud icial abuse of discretion, with the issuance of the Dispute Resolution Officer's

             20   ru ling on Hazmat's 2020 Dispute Document which resu lted in the automatic assignment of Hazmat to

             2 1 the "Conditional Acceptab le.. tier des ignation for 2020. See Cal. Code Civ. Proc. § I 094.5(6). They

             22   also have failed to act in a manner required by law, leaving Hazmat with no adequate legal remedy. See

             23   Cal. Code Civ. Proc. § I085.

             24             138.    The March 5. 202 1 Dispute Resolution Officer's rul ing was improperly issued after

             25   DTSC had already issued Hazmaf s 2020 Fac ility VSP Score and compliance tier assignment. making

             26   the decision irrelevant. It is also rife with errors.

             27             139.    The Dispute Resolution Officer's final ruling blessed the inclusion and scoring of alleged

             28   violations at issue in the LA Action that were dismissed and/or settled before trial with no admission of
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                 liabi lity, which both deprived Hazmat of the benefit of its settlement agreement, at substantial cost to

            2    Hazmat, and improperly converted the alleged violations settled in that case into scorable final

            3    violations for VSP purposes, contrary the agency' s burden to prove the existence of a violation.

            4            140.      The Di spute Resolution Officer·s final ruling defied statutory li mitations by allowing

            5    DTS C to score time-barred and stale alleged violations from beyond the fi ve-year statute of limitations

            6    period. and in contraventi on of the legislative directives authorizing the VSP Regulations.

            7            14 1.     The Dispute Resolution Officer· s final ruling defied statutory limitations by allowing

            8    DTSC to score stale alleged violations from beyond the fi ve-year period authorized by the Legislature

            9    when it directed DTSC to adopt regulations to implement programmatic reforms.
     "'
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          10             142.      The Dispute Resolution Officer' s final ruling defied statutory and regulatory limitations
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    u
          11     by including and scoring violations that were never proven and were only alleged by DTSC. including
    C:
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    "-
    a 12 application of upward score adj ustments for alleged repeat vio lations.
0.. VJ
    • 13
    "'                   143.      The Dispute Resolution Officer· s final ruling defi ed statutory and regulatory limitations
    "
    ~
-   C:
    <     14     by including and scoring alleged violations that did not qua lify as Class I violations.

          15             144.      The Dispute Resolution Officer· s final ruling erro neously combined and/or discarded

          16     additional no-violation compliance inspections from the scoring process, which would have improved
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     C:

     "
    .:;   17     Hazmafs 2020 Final Facility VS P Score and automatic tier classi fi cation for 2020 had the decision been
    >
    '-'
    G
    •0 18        timely issued .
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          19             145.      The Dispute Resolution Officer· s final ruling summarily rejected Hazmafs constitutional

          20     challenges to DTSC's application of the VSP regulations to it, resulting in the den ial of due process. As

          21     alleged herein, these de fects include but are not limited to improper and inconsistent application of

          22     subjective regulations for scoring the so-ca lled --extent of dev iation .. and ·'potential for harm .. for alleged
          ,..,
          _.,    violations, and the improper scoring of all eged violations for which Hazmat was denied a fa ir

          24     opportunity to challenge due to delayed notice to Hazmat of DTSC's allegations resulting from DTSC's

          r_)    fai lure to provide required post-inspection documentation (or untimely prov ision of that documentation).

          26     They also include the Dispute Resolution Officer· s decision upholding ind ividual " fi nal.. 2020 scores

          27     that differ from the scores on those inspections determined by the 20 19 Dispute Reso lution Official.

          28             146.      As a result of the erroneous, arbitrary, and vindicti ve application o f the VSP Regulations
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                                                   VERIFIED PETITIO     FOR WRIT OF MANDATE
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                 to Hazmat, and the lack of timely and meaningful administrative rev iew. Hazmat has been denied

             2   property interests without due process, suffered regulatory takings without j ust compensation. and

             3   subjected to improper ex post facto laws.

             4                                              Seventh Ca use of Action

             5   (Takings: California Constitution, A rticle 1 § 19; U.S. Constitution, Fifth Amendment, Against all

             6                                                     Defendants)

             7            147.    Petitioner incorporates by reference Paragraphs I through 146. as though fully set fotth

             8   below.

             9            148.    Article I , § 19 of the Ca li fornia Constitution states: '·Pri vate property may be taken or
     "'
     3           damaged fo r a public use only when just compensation . .. has first been paid ... to the owner. The
     en     10
     •
     ~u 11       Fifth Amendment to the United States Constitution. as applied to the States. has a parallel provision.
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     e
     ';; 12
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                          149.    Cali fornia and federa l law both provide that a property owner who has performed
0.. "'
..J •
_J   r: I J..,   substantial work and incurred substantia l liabilities. in good fa ith reliance upon a permit lawfu lly issued
~ ~
=~          14   by the government, acquires property interest in the rights granted by the permit. (Avco Community

            15   Development v. So uth Coast Regional Commission ( 1976) 17 Ca l.3d 785; Dobbins v. City ofLos Angles

            16   ( 1904) 195 U.S. 223.)
     •
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            17            150.    Once a property owner has secured a vested right in the continued operation of a business
     ..,>
     G           in reliance on a legitimately acquired permit, the government may not prevent the property owner from
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     "'
     <.>

     6 19 activities undertaken in compliance with the lawful permit.
            20            15 1.   Under Cali forn ia law. a vested right that affects a property owner' s livelihood and

            2 1 economic future is deemed a ··fundamental vested right,"· requ iring both independent judicia l rev iew and

            22   a heightened level of scrutiny. Interference with the right to continue an established business is fa r more

            23   serious than deni al of the right to establish a business in the first instance. (Goat Hill Tavern v. City of

            24   Costa Mesa (1992) 6 Cal.App.4th 5 19.)

            25            152.    Petitioner operates its business within California. Petitioner holds ex isting permits

            26   lawfull y issued by DTSC. Petitioner has made substantial investments in the purchase, modifi cation,

            27   conversion, equipment, enlargement. improvement. management and/or marketing of its property. All

            28   of these expenditures were material and substantial. and all were unde1taken in good fa ith rel iance on
                                                                         49
                                                   VERIFIED PETIT IO    FOR WRI T OF M A DATE
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                 permits issued by DTSC, the applicable regulations and statute of limitations, and the settlement reached

             2   in the LA Action.

             3            153.    Petitioner·s employees have also made long-term financial commitments and other

             4   decisions in good faith re liance on the permits including. but not limited to, mortgages, improvement

             5   loans, personal relocation , employment contracts and other actions affecting their livelihoods and those

             6   of their fami lies.

             7            154.    Under its permits, Hazmat has a vested right to continue in business and to use its

             8   property free ly, without arbitrary or un lawfu l interference. Defendants' effort to impose punitive costs

     "'
             9   and/or destroy Hazmat and terminate or take over its business violates Petitioner's vested rights and has
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    ,;;:;   10   caused it substantial damages in an amount to be proven at trial.
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            ll                                              Eight Cause of Action
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     C      12   (Denial of Due Process: U.S. Constitution, 14 th Amendment,§ l ; Ca lifornia Constitution, Article I,
o.. r>i
     • 13                                                § 7 Against all Defendants)

            14            155.    Petitioner incorporates by reference Paragraphs I through 154. as though fully set fo rth

            15   below.

            16            156.    The I 4th Amendment to the United States Constitution provides that "no state shall make
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    <i
            17   or enforce any law which shall abridge the privileges or immunities of citizens of the United States; nor
     >
    u"           shal l any state deprive any person of li fe, liberty, or property, without due process of law.'· Article I ,§
    • I8
     0
     00
     "',,! 19    7 of the California Constitution provides the same protection, stating ·'a person may not be depri ved of
    0
            20   life, libe1ty or prope1ty without due process of law or den ied equal protection of the laws ... .'·

            21            157.    DTSC's flawed VSP Regulations and its application of these regulations to Hazmat was

            22   done with the intent to deprive Hazmat of its right to use its property and retain its permit.

            23            158.    The VSP Regulations prevent any type of fair and impartial review of DTSCs arbitrary

            24   scoring decisions in violation of the U.S. Constitution· s 14th Amendment and the Cali fornia

            25   Constitution· s Article I § 7. DTSC s ·• Dispute Resolution Officer·· is an employee of DTSC who made

            26   no effort to critically consider Hazmat' s 2019 or 2020 Dispute Documents. The VSP Regulations make

            27   DTS C prosecutor. judge and jury, whereby DTSC converts every allegation asserted during the past ten

            28   years into a conviction and then proceeds to impose costly penalties-forcing Hazmat to turn over
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             control of its operations to a third-party auditor selected by DTSC. This is not the reform of DTSC that

         2   the Legislature was seeking.

         3            159.     For the fo regoing reasons, Hazmat seeks a j udicial determination that the VSP

         4   Regulations and DTSC's application of them to Hazmat violates the rights secured to Hazmat by the

         5   14th Amendment to the United States Constitution and by Article I. §.7 of the California Constitution.

         6   Hazmat has been injured as a result of Defendants· conduct as alleged herein and are entitled to damages

         7   as a resu lt.

         8                                               Ninth Cause of Action

"'::i    9                                   (Declaratory Relief Against all Defendants)

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r;;;    IO            I 60 .   Plaintiff incorporates by reference Paragraphs I through 159. as though fully set forth
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             below.
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 e
';; 12                161.     This case presents a justiciable issue, and an actual controversy has arisen and now exists
"'"
    13       regarding the rights and duties of the parties herein. in that the pa11ies dispute the Final Inspection

        14   Violations Scores issued to Hazmat and the compliance tier classification and calcu lation methodology

        15   used by DSTC as alleged herein.

        16            162.     The aforementioned VSP Regulations, which permit scoring of time-barred, stale .
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a 17 dismissed, and settled violations; discretionary scoring of other inspections in a way that inflates facil ity
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u 18 scores at DTSCs whim ; ti er designations that impose penalties that effectively take control over a
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             business; and untimely administrative review are void fo r vagueness, contrary to law. allow DTSC
6
        20   determinations and the exercise of jurisdiction in excess of its contro lling statutes, vio late due process,

        21   the Takings Clause, and impose improper ex post fac to penalties.

        22            163.     In light of these flaws, Hazmat respectfu lly requests an order declaring that the VSP

        23   Regulations are unconstitutional both on thei r face and as applied to Hazmat.

        24            164.     Hazmat further respectfully requests a declaration that the DTSC cannot lawfully (i)

        25   incl_ude settled. abandoned or otherwise unproven alleged violations in Hazmaf s VSP score. (ii) score

        26   an alleged violation under the VSP program that does not meet the definition of "Class I Violation" in

        27   Section 66260. 10 (i.e. , "that represents a significant threat to human health or safety or the

        28   environment""); (iii) apply an upward adjustment for a '·repeat" violation based on violations outside the
                                                                    51
                                               VERJFIED PETITIO    FOR WRJT OF MANDATE
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                    ten-year lookback period of the YSP Regulations: (iv) refuse to include ··compliance inspections··

                2   meeting the definition of that term in Section 6627 l .50(a)( I) or DTSC s Inspections Policy. or refu se to

                3   count compliance inspections based on the claimed lack of verify ing documentation in DTSCs own

                4   fil es; (v) designate Hazmat as "Unacceptable'· under the VSP Regulations for the 20 19 period; (vi)

                5   designate Hazmat as "Conditionally Acceptable'· under the VSP Regulations for the 2020 period: (vii)

                6   require Hazmat to complete an --audit"" or bear any other punishment in order to challenge the 20 19

                7   ·' Unacceptable·· compliance tier ass ignment; (viii) pursue any action based on Hazmat"s 20 I 9

                8   ·'U nacceptable·· compliance tier ass ignment in light of its 2020 compliance tier designation as

         "'
                9   '"Conditionally Acceptable;·· and (ix) seek permit revocation under the YS P Regulations.
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               10           VI.      PRAYER FOR RELIEF
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         u
               11           WHEREFORE, plaintiff and petitioner 1-lazmat, Inc. prays fo r j udgment in its favor and against
        tt""
         C:    12   defendants and respondents Ca lifornia Depa1tment of Toxic Substances Control, Bill Beckman. Maria
    "
c.. "'
....l   •
....l   "'" 13      Soria, Bruce LaBe lle. and DOES I through I 0. as fo llows:
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         "
               14           1.       For a judgment that DTSC, Beckman. Soria, LaBelle and DOES I through I 0. abused

               15   their discreti on for the reasons stated herein;

               16           2.       For issuance of a writ of mandate commanding Respondents to:
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         a 17
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                                     a.     Set aside and vacate the January 29, 202 1 dec ision of Beckman as the DTSC
         >
        G"
         • 18               Dispute Resolution Officer concerning Hazmat" s 20 19 Dispute Document and di recting him and
         C
        01)

         " 19
        -~
        -"                  al l Respondents to issue a new decision in accordance with the law and facts;
        u
               20                    b.     Set aside and vacate the 2019 Facility YSP Score issued by Soria on February 5,

               21           202 1 to Hazmat, and directing her and all Respondents to issue a new score in accordance with

               22           the law and facts;

               23                    c.     Set aside and vacate the 20 19 compliance tier assignment issued February 5, 202 1

               24           by Soria that placed Hazmat in the " Unacceptable·· compliance tier for 201 9, and directing her

               25           and all Respondents to issue a new compliance tier ass ignment in accordance with the law and

               26           facts;

               27                    d.     Set aside and vacate the 2020 Facility VSP Score of 36.45 issued February 5,

               28           202 1 by Soria, and directing her and all Respondents to issue a new score in accordance with the
                                                                            52
                                                     VE RJ FI ED PETIT IO   FOR WRIT OF MA DAT E
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                        law and facts;

             2                  e.       Set as ide and vacate the 2020 compliance tier assignment issued February 5, 2021

             3          by Soria that placed Hazmat in the "Cond itionally Acceptable .. compliance tier fo r 2020, and

             4          directing her and all Respondents to issue a new compliance tire assignment in accordance with

             5          the law and facts; and

             6                  f.       Set aside and vacate the March 5. 202 1 decision of LaBelle as DTSC Dispute

             7          Resolut ion Officer concerning Hazmafs 2020 Dispute Document, and directing him and all

             8          Respondents to issue a new decision in accordance with the law and facts .

             9          3.      For a declaration that the VSP Regulations on their face and as administered by DTSC,
      "'5
     .3
     en 10       Beckman, Soria, LaBell e and DOES I through IO vio late Hazmat' s rights, including its rights to due
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                 process of law and to be free from arbitrary government actions and the illegal taking of property
      C:
      E
     ~      12   without compensation or due process:
      "'
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     •
            13          4.      For a declaration of the rights and obligations of the parties, including a declaration that:

     0"'    14                 a.        Observations made by DTSC employees or agents during compliance inspections
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            15          (as defined in DTSC's Inspections Policy) are mere allegations of non-compliance with the law

            16          and cannot be scored under the VS P program unless they have been proven in a contested civil
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      a     17          or administrative matter by DTSC, includ ing alleged violations that were dismissed before trial
      >
      "
     [i
     •0 18              in the LA Action (whether through settlement or vol untarily by DTSC);
      Ol)

      "'u 19                    b.       Violations that do not pose a significant threat to human health or safety or the
     6
            20          environment cannot be scored under the VSP program because they do not meet the definition of

            21          ··Class I Violation.. in Section 66260.1O;

            22                  c.       DTSC may not impose any upward adjustment for a ·'repeat'· violation based on

            23          violations fa lling outside the ten-year lookback period of the VSP Regulations;

            24                  d.       DTSC must count all ··compliance inspections·· that occurred in a ten year period

            25          under the VSP Regulations when calculating an inspection violations score. regardless of

            26          whether or not DTSC documented the inspection in its own records or provided a fac ility

            27          owner/operator documentation in a timely fashion (or at all) as requ ired by the Hazardous Waste

            28          Control Law, regulations implementing the Hazardous Waste Control Law or DTSC Inspections
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                      Policy;

           2                    e.     That DTSC's Regulations are unconstitutional and in va lid to the extent they rely

           3          on violations occurring outside of either the statute of limitations under the VSP Regulations or

           4          beyond the fi ve-year lookback authorized by SB 673 and AB I 075;

           5                    f.     Hazmat did not receive a fair hearing on its 20 19 Dispute Document:

           6                    g.     For the 20 19 period under the VSP Regulations. Hazmat's Facility VS P Score

           7          shall be zero;

           8                    h.     For the 20 19 period under the VSP Regulations. Hazmat's compliance tier

           9          assignment under the VSP Regulations shall be ··acceptable;··
    "'
   .3     10                    1.     Hazmat did not recei ve a fa ir hearing on its 2020 Dispute Document;
   ,;;
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    ii
    u
          11                    J.     For the 2020 period under the VS P Regulations. Hazmat' s Fac ility YS P Score
    C
    e
   "-
    C     12          shall be zero;
Cl. ~
    • 13                        k.     For the 2020 period under the VS P Regulations. Hazmat' s compliance tier

          14          ass ignment under the YS P Regulations shall be ··acceptable;··
   .3"'
          15                    I.     Hazmat does not need to challenge DTSC's 20 19 ·'Unacceptable·· compliance tier

       16             des ignation because it is moot in light of DTSCs 2020 designation that it is "Conditionally
    •
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    "> 17
   ""u
                      Acceptable;,.

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    Oil
          18                    m.     That Hazmat has suffered and will continue to suffer immediate, imminent,
    "o! 19            irreparable injury from DTSC's 20 19 ·'Unacceptable" compliance tier classification and
   e
          20          participation in the administrative rev iew process and public meeting about that classification:

          21                    n.     That the VS P Regulations are unconstitutional and inva lid to the extent they

          22          purported to authorize DTSC to pursue permit revocation based on the VSP program ; and

          23                    o.     That the scoring procedures of Section 66271 .5 1 are invalid and unconstitutional

          24          as they lack any defined. di scernable or consistent criteria for scoring a violation for ·'extent of

          25          deviation" or '·potential harm;..

          26          5.        Issuance of a preliminary injunction, to preserve the status quo that prohibits

          27   Respondents/Defendants from taking any action based on Hazmat's 20 19 compliance tier assignment to

          28   the "Unacceptab le'' tier, including a stay on any requirement for administrative review of that
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                                                VERIFIED PETITI O   FOR WRIT OF MA DA T E
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               compliance tier assignment under Section 6627 1.57 until after judgment is rendered in th is action;

           2          6.      Issuance of a permanent injunction that:

           3                  a.     Prohibits Respondents/ Defendants from taking any action based on Hazmat's

           4          20 19 compliance tier assignment to the " Unacceptable" tier;

           5                  b.     Prohibits Respondents/Defendants from taking any action based on Hazmat' s

           6          2020 compliance tier assignment to the ''Conditional ly Acceptable .. tier;

           7                  c.     Prohibits Respondents/Defendants from making any public statements about

           8          Hazmat's scoring or compliance tier ass ignments under the VSP Program inconsistent with a

    "'
           9          score of zero for both the 20 19 and 2020 review periods, and requiring DTSC to take down from
    5
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   Yi
          10          any public resource (including but not limi ted to any website or social media accounts) any
    •0
    ~     11          statements to the contrary;
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    e
   t..
    ,::   12                  d.     Requires Respondents/Defendants to affirm ative ly reach out and contact all
    "
c.. "'
    • 13              persons that it notified that Hazmat was assigned a Fac ility YSP Score greater than zero fo r

    "'
    0
          14          either 20 19 or 2020 or was anything other than an --acceptable.. operator for those periods and
   ..J

          15          correct its misstatements about Hazmat and ask that they correct any misinformation publi shed

          16          based on DTSCs erroneous determinations, including but not limited to the United States
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   -g
    "'
   ,:;    17          Protection Agency (this must be completed within 15 days of entry of judgment in thi s matter
    >
   G"                 and proof of comp Iiance fil ed with the Court and served on al I parties no later than 20 days
   •0 18
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                      fol lowing entry of judgment);
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      20              7.      Damages according to proof;

          21          8.      For attorney' s fees and costs as authorized by law; and

          22          9.      For such other and further relief as the Court may deem j ust and proper.

          23   DATED : March 26, 202 1                              TUCKER ELLIS LLP

          24

          25                                                        By: - - - -- - -- -- - - -
                                                                         Marc R. Greenberg
          26                                                             Matthew I. Kaplan
                                                                    Attorneys for Petitioner
          27                                                        HAZMAT TSDF, INC., forme rly known as FILTER
                                                                    RECYCLING SERV ICES, £NC.
          28
                                                                      55
                                              VERJFI ED PET IT IO    FOR WRJT OF MA DATE
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                                                        VERIFICATION

       2           I, Jon Bennet, declare:

       3           1 am the President ofHazmat, Inc., and I am authorized to execute this verification on Hazmat's

       4   behalf. I have read the foregoing Verified Petition for Writ of Mandate (Traditional and Administrative)

       5   and Complaint for Declaratory Relief-      Immediate Stay Requested (" Petition") and I am familiar with

       6   its contents . The facts stated in the Petition are true of my own knowledge, except as those matters

       7   alleged on information or belief, and as to those matters, I believe them to be true.

       8           I declare under penalty of perjury of the laws of the State of California that the foregoing is true

..
·;;
       9   and correct. Executed this 26th day of March, 2021 , at Rialto, California .
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